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                               EXHIBIT 31




                               EXHIBIT 31


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Gurvey v. Acosta, 160 A.D.3d 733 (2018)
71 N.Y.S.3d 387, 2018 N.Y. Slip Op. 02465



                                                             documents. By decision and order on motion dated
                160 A.D.3d 733                               January 23, 2018, the Appellate Division, First Judicial
     Supreme Court, Appellate Division, Second               Department, transferred the proceeding to this Court.
             Department, New York.                           Motion **388 by the petitioner, inter alia, for an order
                                                             directing the respondent to vacate all orders entered by
    In the Matter of Amy R. GURVEY, petitioner,              the Appellate Division, First Judicial Department, since
                         v.                                  2008 in proceedings involving the petitioner.
        Rolando T. ACOSTA, etc., respondent.
                                                             Upon the papers filed in support of the motion and the
                        2018–01366                           papers filed in opposition thereto, it is
                               |
                        April 11, 2018                       ORDERED that the motion is denied; and it is further,

                                                             ADJUDGED that the petition is denied and the
Attorneys and Law Firms                                      proceeding is dismissed on the merits, without costs or
                                                             disbursements.
Amy R. Gurvey, Upper Montclair, N.J., petitioner pro se.
                                                             The extraordinary remedy of mandamus will lie only to
Eric T. Schneiderman, Attorney General, New York, N.Y.
                                                             compel the performance of a ministerial act, and only
(David Lawrence III of counsel), for respondent.
                                                             where there exists a clear legal right to the relief sought
JOHN M. LEVENTHAL, J.P., ROBERT J. MILLER,                   (see Matter of Legal Aid Socy. of Sullivan County v.
HECTOR D. LASALLE, VALERIE BRATHWAITE                        Scheinman, 53 N.Y.2d 12, 16, 439 N.Y.S.2d 882, 422
NELSON, JJ.                                                  N.E.2d 542).

                                                             The petitioner has failed to establish a clear legal right to
                                                             *734 the relief sought.




                                                             LEVENTHAL, J.P., MILLER, LASALLE                               and
          DECISION, ORDER & JUDGMENT                         BRATHWAITE NELSON, JJ., concur.

*733 Proceeding pursuant to CPLR article 78, inter alia,     All Citations
in the nature of mandamus to compel the respondent,
Honorable Rolando T. Acosta, the Presiding Justice of the    160 A.D.3d 733, 71 N.Y.S.3d 387 (Mem), 2018 N.Y. Slip
Appellate Division, First Judicial Department, to direct     Op. 02465
the Chief Attorney of the First Department Attorney
Grievance Committee to produce to her certain
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                               EXHIBIT 32




                               EXHIBIT 32


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                                                                        EXHIBIT 32
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       2. By May 10, 2018, Plaintiff shall show cause in writing why this case should not be
          dismissed as barred by res judicata, the Eleventh Amendment, the Rooker-Feldman
          doctrine, judicial immunity, and quasi-judicial immunity.

       3. By May 24, 2018, Defendants shall respond.

       4. By May 31, 2018, Plaintiff shall reply, if at all.

       The Clerk of Court is directed to mail a copy of this order to Plaintiff pro se.

       SO ORDERED.

 Dated: April 19, 2018
        New York, New York




                                                   2

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                               EXHIBIT 33




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                                                                        EXHIBIT 33
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 (S.D.N.Y. May 14, 2013), aff’d, 576 F. App’x 18 (2d Cir. 2014). That action was dismissed sua
 sponte as barred by the Eleventh Amendment, the Rooker-Feldman doctrine, judicial immunity,
 and quasi-judicial immunity. Id. The Second Circuit affirmed. Gonzalez, 576 F. App’x 18.

         Plaintiff filed a subsequent action in state court in January 2015 with similar claims
 against 16 of the 24 defendants named here. See Weissbrod v. State of New York, Index. No.
 100163-15 (N.Y. Sup. Ct.); see also Berg Decl., Ex. A, ECF No. 21-1. The state court dismissed
 the action because of jurisdictional defects, see Berg Decl., Ex. B, at 8, ECF No. 21-2, collateral
 estoppel, based on the Disciplinary Action and the Federal Action, id., failure to state a claim, id.
 at 10, and other procedural defects, id. at 10–11. The state court enjoined Plaintiff “from filing
 any new claims against [the defendants] without first obtaining leave from” the administrative
 judge of the New York Supreme Court. Berg Decl., Ex. C, ECF No. 21-3.

        Additionally, over the years, Plaintiff has filed numerous actions that assert some of the
 same claims as the instant action. See Gurvey v. Cowan, Liebowitz & Latman, P.C., 06 Civ.
 1202, (S.D.N.Y.); Gurvey v. Squitieri & Fearon, LLP, et al., Index No. 02516-16 (N.Y. Sup.
 Ct.); Gurvey v. Squitieri & Fearon, LLP, et al., Index No. 60012-13 (N.Y. Sup. Ct.); and
 Weissbrod v. Dopico, 110774-11 (N.Y. Sup. Ct.).

         On April 19, 2018, the Court ordered Plaintiff to show cause why this action should not
 also be dismissed as barred by res judicata, the Eleventh Amendment, the Rooker-Feldman
 doctrine, judicial immunity, and quasi-judicial immunity. Order, ECF No. 6. To the extent that
 Plaintiff addresses the issues raised by the Court, her arguments are without merit. See generally
 Pl. Resp., ECF No. 11; Pl. Reply, ECF No. 28. Plaintiff’s responses to Defendants’ additional
 arguments, for example, on collateral estoppel or the failure to state a claim, see, e.g., City of
 New York Opp., at 5, ECF No. 22; Hinshaw Opp., at 8, ECF No. 25, likewise fail.

         Indeed, the Court concludes that Plaintiff’s allegations and arguments are frivolous.
 Gonzalez, 2013 WL 12084506, at *1 (“[A] claim is ‘frivolous when either: (1) the factual
 contentions are clearly baseless, such as when allegations are the product of delusion or fantasy;
 or (2) the claim is based on an indisputably meritless legal theory.’” (quoting Livingston v.
 Adirondack Beverage Co., 141 F.3d 434, 437 (2d Cir. 1998))). The Court, therefore, exercises its
 inherent authority to dismiss even a fee-paid action as frivolous. Gonzalez, 576 F. App’x at 19.

          Accordingly, the action is DISMISSED with prejudice. All conferences are vacated. All
 pending motions are moot. The Clerk of the Court is directed to close the case and to mail
 Plaintiff pro se a copy of this order. Plaintiff is warned that further frivolous litigation may
 result in the imposition of sanctions, including monetary penalties and filing injunctions.

        SO ORDERED.

 Dated: June 5, 2018
        New York, New York




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                               EXHIBIT 34




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Matter of Gurvey v Acosta, 31 N.Y.3d 1125 (2018)
106 N.E.3d 733, 81 N.Y.S.3d 350, 2018 N.Y. Slip Op. 75978




                                                                   CITE TITLE AS: Matter of Gurvey v Acosta


  31 N.Y.3d 1125, 106 N.E.3d 733, 81 N.Y.S.3d 350            Reported below, 160 AD3d 733.*1126
         (Mem), 2018 N.Y. Slip Op. 75978
                                                             Appeal dismissed, without costs, by the Court of Appeals,
    In the Matter of Amy R. Gurvey, Appellant,               sua sponte, upon the ground that no substantial
                          v                                  constitutional question is directly involved.
   Rolando T. Acosta, the Presiding Justice of the
   Appellate Division, First Judicial Department,            Chief Judge DiFiore taking no part.
                    Respondent.

            Court of Appeals of New York                     Copr. (C) 2023, Secretary of State, State of New York
               Decided June 26, 2018

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                              EXHIBIT 35




                              EXHIBIT 35


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 State of I{ew York
 Court of Appeals
                                                                Decided und Entered on the
                                                                  tweffih day of June, 2018

 PfgSent, Hon. Jenny Rivera, Senior Associate Judge, presiclirtg.
 Mo. No. 2018-374
 Arny Weissbrod Guruey,
       Appellant,
      V.
 State of New York, et al.,
         Respondents.



           Appellant having appealed and moved for leave to appeal to the Court of

 Appeals in the above cause;

           Upon the papers filed and due deliberation, it is

           ORDERED, on the Court's own motion, that the appeal, insofar as taken from

 those portions of the February 2018 Appellate Division order that dismissed the appeal

 frorn the January 2017 Supreme Court order and dismissed the appeal from that portion

 of the August 20 16 Supreme Court order that ( 1) disrnissed appellant's cornplaint against

 certain defendants, (2) irnposed a future litigation injunction against appellant, and

 (3) denied appellant's motion to amend the complaint, is disrnissed, without costs, upon

 the ground that no substantial constitutional question is directly involved; and it is further

           ORDERED, that the appeal is otherwise disrnissed, without costs, upon the ground

 that it does not lie; and it is further




                                                                                    EXHIBIT 35
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 Motion.No. 2018-37 4                       -2-                             June 12,2018




        ORDERED, that the motion, insofar as taken from those portions of the

 February 201 8 Appellate Division order that dismissed the appeal from the lanuary 2017

 Supreme Court order and disrnissed the appeal from that portion of the August 2016

 Supreme Court order that (1) disrnissed appellant's complaint against certain defendants,

 (2) irnposed a future litigation injunction against appellant, and (3) denied appellant's

 motion to amend the complaint, is denied; and it is further

        ORDERED, that the motion for leave to appeal is otherwise dismissed upon the

 ground that it does not lie.

 Chief Judge DiFiore took no part.



                                                                        (



                                                             John P. Asiello
                                                            Clerk of the Court




                                                                                     EXHIBIT 35
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Decided June 12,2018


Mo. No, 2018-374                             On the Court's own motion, appeal, insofar as taken from those
                                             portions of the F'ebruary 2018 Appellate Division order that
Amy Weissbrod Gurvey,
                                             dismissed the appeal from the January 2017 Supreme Court
          Appellant,
                                             order and disrnissed the appeal from that portion of the August
     V.
                                             2016 Supleme Court order that (1) dismissed appellant's
State of New York, et al,,
                                             complaint against cettain defendants, (2) imposed a futule
        Respondents.
                                             litigation injunction against appellant, and (3) denied appellant's
                                             motion to amend the complaint, dismissed, without costs, upon
                                             the ground that no substantial constitutional question is directly
                                             involved; appeal otherwise dismissed, without costs, upon the
                                             ground that it does not lie.
                                             Motion, insofar as it seeks leave to appeal from those portions
                                             of the February 2018 Appellate Division order that dismissed
                                             the appeal from the January 2017 Supretne Court order and
                                             dismissed the appeal from that portion of the August 2016
                                             Supreme Court older that (1) dismissed appellant's complaint
                                             against ceftain defendants, (2) imposed a future litigation
                                             injunction against appellant, and (3) denied appellant's motion
                                             to amend the complaint, denied;motion for leave to appeal
                                             otherwise dismissed upon the ground that it does not lie'
                                             Chief Judge DiFiore took no part.




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                              EXHIBIT 36




                              EXHIBIT 36


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Gurvey v. Cowan, Liebowitz & Latman, P.C., 757 Fed.Appx. 62 (2018)




                 757 Fed.Appx. 62
                                                              Affirmed.
This case was not selected for publication in West’s
                Federal Reporter.
                                                              Procedural Posture(s): On Appeal; Motion for Summary
 RULINGS BY SUMMARY ORDER DO NOT HAVE
                                                              Judgment.
    PRECEDENTIAL EFFECT. CITATION TO A
     SUMMARY ORDER FILED ON OR AFTER                          Appeal from a judgment of the United States District
    JANUARY 1, 2007, IS PERMITTED AND IS                      Court for the Southern District of New York (Schofield,
GOVERNED BY FEDERAL RULE OF APPELLATE                         J.; Pitman, M.J.).
  PROCEDURE 32.1 AND THIS COURT’S LOCAL
RULE 32.1.1. WHEN CITING A SUMMARY ORDER                      UPON DUE CONSIDERATION, IT IS HEREBY
 IN A DOCUMENT FILED WITH THIS COURT, A                       ORDERED, ADJUDGED, AND DECREED that the
   PARTY MUST CITE EITHER THE FEDERAL                         judgment of the district court is AFFIRMED.
   APPENDIX OR AN ELECTRONIC DATABASE
(WITH THE NOTATION “SUMMARY ORDER”). A                        Attorneys and Law Firms
   PARTY CITING A SUMMARY ORDER MUST
    SERVE A COPY OF IT ON ANY PARTY NOT                       FOR PLAINTIFF-APPELLANT: Amy R. Gurvey, pro se,
          REPRESENTED BY COUNSEL.                             Upper Montclair, NJ.
  United States Court of Appeals, Second Circuit.
                                                              FOR DEFENDANTS-APPELLEES: J. Richard Supple,
    Amy Rebecca GURVEY, Plaintiff-Appellant,                  Jr., Hinshaw & Culbertson LLP, New York, NY.
                         v.
  COWAN, LIEBOWITZ & LATMAN, P.C., Clear                      PRESENT: AMALYA L. KEARSE, DEBRA ANN
 Channel Communications, Inc., Live Nation, Inc.,             LIVINGSTON, SUSAN L. CARNEY, Circuit Judges.
    Instant Live Concerts, LLC, NextTicketing,
 Incorporated, William Borchard, Midge Hyman,
 Baila Celedonia, Christopher Jensen, Dale Head,
  Steve Simon, Nicole Ann Gordon, Susan Schick,
              Defendants-Appellees,
 Does, 1-X Inclusive, Michael Gordon, Defendants.

                        17-2760
                            |                                                 *63 SUMMARY ORDER
                    December 4, 2018
                                                              Plaintiff-Appellant Amy Gurvey (“Gurvey”), proceeding
                                                              pro se, appeals a judgment of the United States District
                                                              Court for the Southern District of New York entered on
Synopsis                                                      July 6, 2017, granting summary judgment in favor of the
Background: Client filed suit against her attorney            defendants with respect to her attorney malpractice and
claiming malpractice and breach of fiduciary duty. The        breach of fiduciary duty claims, an August 9, 2017, order
United States District Court for the Southern District of     deny reconsideration, as well as numerous prior
New York, Schofield, J., granted attorney summary             interlocutory orders. See Notice of Appeal, Gurvey v.
judgment, 2017 WL 2880554, and denied reconsideration,        Cowan Liebowitz & Latman PC, No. 06-cv-1202
2017 WL 6387727. Client appealed.                             (S.D.N.Y. Sept. 1, 2017), ECF No. 419. We assume the
                                                              parties’ familiarity with the underlying facts, the
                                                              procedural history of the case, and the issues on appeal.
Holdings: The Court of Appeals for the Second Circuit         We review orders granting summary judgment de novo.
held that:                                                    Sotomayor v. City of N.Y., 713 F.3d 163, 164 (2d Cir.
                                                              2013). “A motion for summary judgment may properly be
claim for attorney malpractice was time barred, and           granted—and the grant of summary *64 judgment may
                                                              properly be affirmed—only where there is no genuine
district court did not abuse its discretion by declining to   issue of material fact to be tried, and the facts as to which
allow client to amend complaint.                              there is no such issue warrant the entry of judgment for
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Gurvey v. Cowan, Liebowitz & Latman, P.C., 757 Fed.Appx. 62 (2018)



the moving party as a matter of law.” Kaytor v. Elec. Boat      06-cv-1202 (S.D.N.Y. Jan 4., 2017), ECF No. 378. As
Corp., 609 F.3d 537, 545 (2d Cir. 2010). A district court       Gurvey admitted in her deposition that she has no
generally may not make credibility assessments when             evidence that any of the individual Cowan attorneys
evaluating the evidence at the summary judgment stage.          revealed her confidential information, the one incident
Rogoz v. City of Hartford, 796 F.3d 236, 245–46 (2d Cir.        which might raise a genuine issue of fact regarding her
2015). However, this Court has ruled that “in certain           claim is a conversation in April 2002 between herself, *65
cases a party’s inconsistent and contradictory statements       Cowan attorney Susan Schick, and Phish bass guitarist
transcend credibility concerns and go to the heart of           Michael Gordon. However, because the tolling period
whether the party has raised genuine issues of material         terminated with the attorney-client relationship, Gurvey
fact to be decided by a jury.” Rojas v. Roman Catholic          would have had to file her complaint by December 2005
Diocese of Rochester, 660 F.3d 98, 106 (2d Cir. 2011).          to be timely. Thus, the claims in her February 2006
Under the “sham issue of fact” doctrine, a party may not        complaint are time-barred, and we affirm for substantially
“defeat[ ] summary judgment simply by submitting an             the reasons stated by the district court in its thorough July
affidavit that contradicts the party’s previous sworn           6, 2017 opinion and order.
testimony.” Moll v. Telesector Res. Grp., Inc., 760 F.3d
198, 205 (2d Cir. 2014) (internal quotation marks and           The district court did not abuse its discretion in denying
citation omitted). We review the denial of leave to amend       Gurvey further leave to amend her complaint. While leave
for abuse of discretion. See Anderson News, L.L.C. v. Am.       to amend should be freely granted, it may be denied “for
Media, Inc., 680 F.3d 162, 185 (2d Cir. 2012).                  good reason, including futility, bad faith, undue delay, or
                                                                undue prejudice to the opposing party.” McCarthy v. Dun
The district court properly granted summary judgment to         & Bradstreet Corp., 482 F.3d 184, 200 (2d Cir. 2007).
defendants because Gurvey’s claims were untimely.               Gurvey engaged in a pattern of filing a motion to amend
Gurvey’s attorney malpractice claim is subject to New           and then, while the motion was pending but after the
York’s three-year statute of limitations. See N.Y. C.P.L.R.     defendants had responded, filing a new motion to amend.
§ 214(6). Similarly, New York’s statute of limitations for      The district court reasonably concluded that this pattern of
a breach of fiduciary duty claim seeking monetary               filing constituted bad faith and unduly prejudiced the
damages is three years. See Bouley v. Bouley, 19 A.D.3d         defendants, especially because Gurvey proposed these
1049, 797 N.Y.S.2d 221, 223 (2005). Both actions accrue         amendments more than six years after filing her initial
when the conduct giving rise to the claim took place. See       complaint. See Block v. First Blood Assocs., 988 F.2d
Shumsky v. Eisenstein, 96 N.Y.2d 164, 726 N.Y.S.2d 365,         344, 350 (2d Cir. 1993) (“[T]he longer the period of an
750 N.E.2d 67, 69 (2001) (malpractice); Kaufman v.              unexplained delay [in seeking to amend a complaint], the
Cohen, 307 A.D.2d 113, 760 N.Y.S.2d 157, 166 n.3                less will be required of the nonmoving party in terms of a
(2003) (breach of fiduciary duty).                              showing of prejudice.” (internal quotation marks and
                                                                citation omitted) ). While she claims that she only learned
Under New York’s continuous representation doctrine,            of the bases for the proposed Sixth Amended Complaint
the limitations period is tolled while there is continuing      after the defendants’ December 2012 document
representation of a client that “pertains specifically to the   production, the district court found this implausible given
matter in which the attorney committed the alleged              the similarity between her proposed Fifth and Sixth
malpractice.” Shumsky, 726 N.Y.S.2d 365, 750 N.E.2d at          Amended Complaints. Furthermore, the district court
70-71. The period of tolling extends only while there is a      noted several clear contradictions between the Sixth
“mutual understanding” between the client and legal             Amended Complaint and Gurvey’s earlier sworn
professional that further services are required and ends        statements, adding to its concern that the new complaint
“once the client is informed or otherwise put on notice of      was filed in bad faith.
the attorney’s withdrawal from representation.” Id., 726
N.Y.S.2d 365, 750 N.E.2d at 72–73.                              We have considered Gurvey’s remaining arguments and
                                                                find them to be without merit.2 Accordingly, we
Here, an independent review of the record reveals that the      AFFIRM the judgment of the district court.
district court properly granted summary judgment. The
evidence shows that Gurvey’s attorney-client relationship
with the defendants1 had unequivocally terminated by            All Citations
December 2002, when Gurvey wrote to the firm with an
accusation that it had misappropriated her confidential         757 Fed.Appx. 62
information and indicated her intent to pursue the matter
“vigorously.” Jensen Declaration, Ex. 4 at 3, Gurvey, No.

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Gurvey v. Cowan, Liebowitz & Latman, P.C., 757 Fed.Appx. 62 (2018)



                                                          Footnotes


1
       While there are a number of Defendants-Appellees included in the caption, Gurvey’s only claims to survive this
       Court’s previous summary order, see Gurvey v. Cowan, Liebowitz & Latman, P.C., 462 F. App’x 26 (2d Cir. 2012),
       were her malpractice and fiduciary duty claims against Cowan Liebowitz & Latman (“Cowan”), and Cowan attorneys
       William Borchard, Midge Hyman, Baila Celedonia, and Christopher Jensen (collectively, the “Cowan Defendants”).
       See id. at 30; see also Defs.-Apps. Brief at 1.



2
       In particular, Gurvey’s notice of appeal noted her intention to appeal all interlocutory orders entered since this
       Court’s previous summary order in February 2012, which remanded the case to the district court. These various
       orders related to, inter alia, the scope of discovery, the imposition of a litigation stay, the issuance of sanctions, her
       repeated insistence that opposing counsel be disqualified, and her motion to disqualify the magistrate judge. We
       see no abuse of discretion in the disposition of these motions.




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                              EXHIBIT 37




                              EXHIBIT 37


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                        UNITED STATES COURT OF APPEALS
                                            FOR THE
                               SECOND CIRCUIT
                 _____________________________________________

         At a stated term of the United States Court of Appeals for the Second Circuit, held at the
 Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
 18th day of January, two thousand nineteen.
________________________________________

 Amy Rebecca Gurvey,

              Plaintiff - Appellant,
                                                               ORDER
 v.                                                            Docket No: 17-2760

 Cowan, Liebowitz & Latman, P.C., Clear Channel
 Communications, Inc., Live Nation, Inc., Instant Live
 Concerts, LLC, Nexticketing, Incorporated, William
 Borchard, Midge Hyman, Baila Celedonia, Christopher
 Jensen, Dale Head, Steve Simon, Nicole Ann Gordon,
 Susan Schick,

              Defendants - Appellees,

 Does, 1-X Inclusive, Michael Gordon,

            Defendants.
 _______________________________________

        Appellant, Amy Rebecca Gurvey, filed a petition for panel rehearing, or, in the alternative,
for rehearing en banc. The panel that determined the appeal has considered the request for panel
rehearing, and the active members of the Court have considered the request for rehearing en banc.


       IT IS HEREBY ORDERED that the petition is denied.


                                                     FOR THE COURT:
                                                     Catherine O'Hagan Wolfe, Clerk




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                              EXHIBIT 38


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                                                                                                          CLOSED,ECF,PRO-SE

                                                U.S. District Court
                                    Southern District of New York (Foley Square)
                                  CIVIL DOCKET FOR CASE #: 1:18-cv-02206-AT


 Weissbrod Gurvey v. Lippman et al                                                   Date Filed: 03/12/2018
 Assigned to: Judge Analisa Torres                                                   Date Terminated: 06/05/2018
 Case in other court: U.S. Court of Appeals, Federal Circuit, 18-                    Jury Demand: None
                     02076                                                           Nature of Suit: 440 Civil Rights: Other
 Cause: 42:1983 Civil Rights Act                                                     Jurisdiction: Federal Question

 Plaintiff
 Amy R. Weissbrod Gurvey                                              represented by Amy R. Weissbrod Gurvey
                                                                                     315 Highland Avenue
                                                                                     Upper Montclair, NJ 07043
                                                                                     PRO SE


 V.
 Defendant
 Hon(s) Jonathan Lippman
 Defendant
 Peter Tom
 Defendant
 Luis Gonzalez
 Defendant
 Rolando Acosta
 Defendant
 Thomas Cahill
 Defendant
 David Spokony
 Defendant
 Jorge DoPico
 Defendant
 Alan W. Friedberg
 Defendant
 Sherry Cohen
 Defendant
                                                                                                              EXHIBIT 38
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?944785616995984-L_1_0-1                                                        1/10
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 James Shed                                                   ID #:861

 Defendant
 Naomi Goldstein
 Defendant
 Raymond Vallejo
 Defendant
 Orlando Reyes
 Defendant
 Lauren Holmes
 Defendant
 Hearing Panel IV                                                     represented by Shawn Kerby
                                                                                     NY State Office of Court Administration
                                                                                     25 Beaver Street
                                                                                     New York, NY 10004
                                                                                     212-428-2172
                                                                                     Fax: 212-428-2155
                                                                                     Email: skerby@courts.state.ny.us
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Hinshaw & Culbertson, L.L.P.                                         represented by Nicole Feder
                                                                                     L'Abbate Balkin Colavita & Contini, LLP
                                                                                     1001 Franklin Avenue
                                                                                     Garden City, NY 11530
                                                                                     516-837-7427
                                                                                     Fax: 516-294-8202
                                                                                     Email: nfeder@lbcclaw.com
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Richard Supple                                                       represented by Nicole Feder
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Hal Lieberman                                                        represented by Nicole Feder
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 O. Lee Squitieri
 Defendant
 NYS Office of Court Administration                                   represented by Shawn Kerby
 (Lawrence Marks & John McConnell,                                                   (See above for address)
 chief counsels)
                                                                                                             EXHIBIT 38
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                                                              ID #:862         LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
 Defendant
 State of NY                                                          represented by Michael Adam Berg
                                                                                     Office of The Attorney General(NYS)
                                                                                     28 Liberty Street, 21st Floor
                                                                                     New York, NY 10005
                                                                                     (212) 416-8651
                                                                                     Fax: (212) 416-6075
                                                                                     Email: michael.berg@ag.ny.gov
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 City of NY                                                           represented by Andrew James Rauchberg
                                                                                     New York City Law Department
                                                                                     100 Church Street Room 6-188
                                                                                     New York, NY 10007
                                                                                     (212) 356-0891
                                                                                     Fax: (212) 356-8760
                                                                                     Email: arauchbe@law.nyc.gov
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Does I-X
 inclusive
 Defendant
 Squitieri & Fearson, L.L.P.


  Date Filed            #    Docket Text
  03/12/2018             1 COMPLAINT against Rolando Acosta, Thomas Cahill, City of NY, Sherry Cohen, Jorge
                           DoPico, Does I-X, Alan W. Friedberg, Naomi Goldstein, Luis Gonzalez, Hearing Panel IV,
                           Hinshaw & Culbertson, L.L.P., Lauren Holmes, Hal Lieberman, Jonathan Lippman, NYS
                           Office of Court Administration (Lawrence Marks & John McConnell, chief counsels), O.
                           Lee Squitieri, Squitieri & Fearson, L.L.P., Orlando Reyes, James Shed, David Spokony,
                           State of NY, Richard Supple. (Filing Fee $ 400.00, Receipt Number 204052)Document
                           filed by Amy R. Weissbrod Gurvey. (Attachments: # 1 cmp part 2)(laq) (Entered:
                           03/13/2018)
  03/12/2018             2 CIVIL COVER SHEET filed. (laq) (laq). (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Thomas Cahill. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Rolando Acosta. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Luis Gonzalez. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Peter Tom. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Jonathan Lippman. (laq) (Entered: 03/13/2018)

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                                                           ID #:863
  03/12/2018                 SUMMONS ISSUED as to NYS Office of Court Administration (Lawrence Marks & John
                             McConnell, chief counsels). (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to State of NY. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to City of NY. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Sherry Cohen. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Naomi Goldstein. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to James Shed. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Alan W. Friedberg. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Jorge DoPico. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to David Spokony. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Raymond Vallejo. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Orlando Reyes. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Lauren Holmes. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Hinshaw & Culbertson, L.L.P.. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Richard Supple. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Hal Lieberman. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to O. Lee Squitieri. (laq) (Entered: 03/13/2018)
  03/12/2018                 SUMMONS ISSUED as to Squitieri & Fearson, L.L.P.. (laq) (Entered: 03/13/2018)
  03/12/2018                 Magistrate Judge Barbara C. Moses is so designated. Pursuant to 28 U.S.C. Section 636(c)
                             and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed before a
                             United States Magistrate Judge. Parties who wish to consent may access the necessary
                             form at the following link: http://nysd.uscourts.gov/forms.php. (laq) (Entered: 03/13/2018)
  03/12/2018                 Case Designated ECF. (laq) (Entered: 03/13/2018)
  04/10/2018             4 NOTICE OF APPEARANCE by Michael Adam Berg on behalf of State of NY. (Berg,
                           Michael) (Entered: 04/10/2018)
  04/16/2018             5 NOTICE OF CHANGE OF ADDRESS by Michael Adam Berg on behalf of State of NY.
                           New Address: Office of the New York State Attorney General, 28 Liberty Street, New
                           York, New York, USA 10005, (212) 416-8651. (Berg, Michael) (Entered: 04/16/2018)
  04/19/2018             6 ORDER TO SHOW CAUSE: 1. By April 26, 2018, Plaintiff shall serve a copy of (1) her
                           complaint, and (2) this order, on Defendants. 2. By May 10, 2018, Plaintiff shall show
                           cause in writing why this case should not be dismissed as barred by res judicata, the
                           Eleventh Amendment, the Rooker-Feldman doctrine, judicial immunity, and quasi-judicial
                           immunity. 3. By May 24, 2018, Defendants shall respond. 4. By May 31, 2018, Plaintiff
                           shall reply, if at all. The Clerk of Court is directed to mail a copy of this order to Plaintiff
                           pro se. (As further set forth in this Order.) Show Cause Response due by 5/24/2018.
                           (Signed by Judge Analisa Torres on 4/19/2018) (cf) Modified on 6/8/2018 (cf). (Entered:
                           04/19/2018)
  04/19/2018                 Transmission to Docket Assistant Clerk. Transmitted re: 6 Order to Show Causeto the
                             Docket Assistant Clerk for case processing. (cf) (Entered: 04/19/2018)

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                                                          ID #:864
  04/20/2018                 Mailed a copy of 6 Order to Show Cause to Amy R. Weissbrod Gurvey, 315 Highland
                             Avenue, Upper Montclair, NJ 07043. (rro) (Entered: 04/20/2018)
  04/26/2018             7 LETTER addressed to Judge Analisa Torres from Amy Weissbrod Gurvey dated 4/26/18
                           re: OSC EXTENSION SERVICE DEADLINE FOR. Document filed by Amy R.
                           Weissbrod Gurvey.(sc) (Entered: 04/26/2018)
  04/27/2018             8 ORDER: Plaintiff's request is GRANTED. 1. By May 7, 2018, Plaintiff shall personally
                           serve a copy of (1) her complaint, (2) the Court's Order to Show Cause, at ECF No. 6, on
                           Remaining Defendants. 2. By May 7, 2018, Plaintiff shall serve a copy of (1) her
                           complaint, and (2) this Court 's Order to Show Cause, at ECF No. 6, on Evading
                           Defendants via certified mail and service on the Secretary of State. 3. By May 9, 2018,
                           Plaintiff shall file proof of service on the docket. All other deadlines shall remain as
                           scheduled in the Court's Order to Show Cause. See ECF No. 6. The Clerk of Court is
                           directed to mail a copy of this order to Plaintiff pro se. (As further set forth in this Order.)
                           (Signed by Judge Analisa Torres on 4/27/2018) (cf) (Entered: 04/27/2018)
  04/27/2018             9 LETTER addressed to Judge Analisa Torres from Amy R. Weissbrod Gurvey, dated
                           4/27/18 re: PLAINTIFF'S UPDATE ON SERVICE W/AFFIDAVITS OF SERVICE IN
                           COMPLIANCE WITH THE COURT'S ORDER TO SHOW CAUSE. Document filed by
                           Amy R. Weissbrod Gurvey.(sc) (Main Document 9 replaced on 4/30/2018) (sc). (Entered:
                           04/30/2018)
  04/27/2018           10 LETTER addressed to Judge Analisa Torres from Amy Weissbrod Gurvey, dated 4/27/18
                          re: Plaintiff makes an application request that the Court grant e-filing priveleges to her in
                          the instant civil rights lawsuit and that, in support of her application, the plaintiff notices
                          that she was granted e-filing privileges by the Second Circuit in 2011. Document filed by
                          Amy R. Weissbrod Gurvey.(sc) (Entered: 04/30/2018)
  05/10/2018           11 LETTER addressed to Judge Analisa Torres from Amy Weissbrod Gurvey, dated 5/9/18 re:
                          Plaintiff submits this memorandum in response to the Court's Order, entered on 4/19/18,
                          for the plaintiff to show cause in writing why her civil rights lawsuit seeking unlawful
                          patent damages, injunctive relief, FOIA orders and 42:1983, 1988 damages, attorneys' fees
                          and costs against state officers is not barred by res judicata, the Rooker-Feldman Doctrine
                          etc. Document filed by Amy R. Weissbrod Gurvey.(sc) (Entered: 05/11/2018)
  05/24/2018           12 NOTICE OF APPEARANCE by Shawn Kerby on behalf of Hearing Panel IV, NYS Office
                          of Court Administration (Lawrence Marks & John McConnell, chief counsels). (Kerby,
                          Shawn) (Entered: 05/24/2018)
  05/24/2018           13 LETTER addressed to Judge Analisa Torres from Shawn Kerby dated 5/24/2018 re:
                          Response to Order to Show Cause. Document filed by Hearing Panel IV, NYS Office of
                          Court Administration (Lawrence Marks & John McConnell, chief counsels). (Attachments:
                          # 1 Exhibit Decision/Orders, # 2 Exhibit Decision/Order, # 3 Exhibit Decision/ Order, # 4
                          Affidavit of Service)(Kerby, Shawn) (Entered: 05/24/2018)
  05/24/2018           14 NOTICE OF APPEARANCE by Nicole Feder on behalf of Hinshaw & Culbertson, L.L.P.,
                          Hal Lieberman, Richard Supple. (Feder, Nicole) (Entered: 05/24/2018)
  05/24/2018           15 RESPONSE TO ORDER TO SHOW CAUSE re: 6 Order to Show Cause,,. Document
                          filed by O. Lee Squitieri, Squitieri & Fearson, L.L.P.. (Squitieri, Olimpio) (Entered:
                          05/24/2018)
  05/24/2018           16 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - MOTION
                          to Dismiss . Document filed by Hinshaw & Culbertson, L.L.P., Hal Lieberman, Richard
                          Supple.(Feder, Nicole) Modified on 5/31/2018 (ldi). (Entered: 05/24/2018)

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  05/24/2018           17 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - MOTION
                          to Dismiss . Document filed by Hinshaw & Culbertson, L.L.P., Hal Lieberman, Richard
                          Supple. (Attachments: # 1 Exhibit Complaint, # 2 Exhibit Hon. Furman Decision 5.2.13, #
                          3 Exhibit Hon. Furman 5.14.13, # 4 Exhibit Amended Complaint, # 5 Exhibit Hon.
                          Lebovitz Decision 8.25.16, # 6 Exhibit Appellate Division, First Dept. Decision 2.22.18, #
                          7 Exhibit Correspondence Court of Appeals 4.3.18, # 8 Exhibit Correspondence Court of
                          Appeals 4.13.18, # 9 Exhibit Decision Magistrate Pitman 11.20.14, # 10 Exhibit Decision
                          Hon. Katz 2.10.16, # 11 Exhibit Correspondence Appellate Div., First Dept. 4.30.15, # 12
                          Exhibit Correspondence Appellate Div., First Dept. 4.24.15, # 13 Exhibit Gurvey Motion,
                          # 14 Exhibit Supple Response part 1, # 15 Exhibit Supple Response part 2, # 16 Exhibit
                          Appellate Division Decision 4.21.16)(Feder, Nicole) Modified on 5/31/2018 (ldi).
                          (Entered: 05/24/2018)
  05/24/2018           18 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - MOTION
                          to Dismiss . Document filed by Hinshaw & Culbertson, L.L.P., Hal Lieberman, Richard
                          Supple. (Attachments: # 1 Exhibit Affidavit of Service, # 2 Exhibit Current Employee List)
                          (Feder, Nicole) Modified on 5/31/2018 (ldi). (Entered: 05/24/2018)
  05/24/2018           19 AFFIDAVIT OF SERVICE of Declaration, Affidavit, Memorandum of Law served on
                          Amy Weissbrod-Gurvey, O. Lee Squitieri, Esq. on May 24, 2018. Service was made by
                          Mail. Document filed by Hinshaw & Culbertson, L.L.P., Hal Lieberman, Richard Supple.
                          (Feder, Nicole) (Entered: 05/24/2018)
  05/24/2018           20 BRIEF re: 6 Order to Show Cause,, . Document filed by Rolando Acosta, Sherry Cohen,
                          Alan W. Friedberg, Naomi Goldstein, Lauren Holmes, Jonathan Lippman, Orlando Reyes,
                          State of NY, Peter Tom, Raymond Vallejo.(Berg, Michael) (Entered: 05/24/2018)
  05/24/2018           21 DECLARATION of Michael A. Berg re: 20 Brief . Document filed by Rolando Acosta,
                          Sherry Cohen, Alan W. Friedberg, Naomi Goldstein, Lauren Holmes, Jonathan Lippman,
                          Orlando Reyes, State of NY, Peter Tom, Raymond Vallejo. (Attachments: # 1 State Court
                          Complaint, # 2 State Court Decision/Order, # 3 State Court Order, # 4 Plaintiff's Bar
                          Records)(Berg, Michael) (Entered: 05/24/2018)
  05/24/2018           22 LETTER addressed to Judge Analisa Torres from Andrew J. Rauchberg dated May 24,
                          2018 re: Response to Court's Order to Show Cause and Opposition to Plaintiff's
                          Memorandum. Document filed by City of NY. (Attachments: # 1 Exhibit A - Prior State
                          Court Complaint, # 2 Exhibit B - State Court Decision dismissing City of New York)
                          (Rauchberg, Andrew) (Entered: 05/24/2018)
  05/24/2018           23 NOTICE OF APPEARANCE by Andrew James Rauchberg on behalf of City of NY.
                          (Rauchberg, Andrew) (Entered: 05/24/2018)
  05/29/2018           24 LETTER addressed to Judge Analisa Torres from Nicole Feder dated May 29, 2018 re:
                          Enclosure of opposition. Document filed by Hinshaw & Culbertson, L.L.P., Hal
                          Lieberman, Richard Supple.(Feder, Nicole) (Entered: 05/29/2018)
  05/31/2018                 ***NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR.
                             Notice to Attorney Nicole Feder to RE-FILE Document 16 MOTION to Dismiss . Use
                             the event type Memorandum of Law in Opposition (non-motion) found under the
                             event list Other Answers. NOTE: Re-file and link to document # 6 Order to Show
                             Cause. (ldi) (Entered: 05/31/2018)
  05/31/2018                 ***NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR.
                             Notice to Attorney Nicole Feder to RE-FILE Document 17 MOTION to Dismiss . Use
                             the event type Declaration (non-motion) found under the event list Other Answers.
                             NOTE: Re-file and link to document # 6 Order to Show Cause. (ldi) (Entered:
                             05/31/2018)
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  05/31/2018                 ***NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR.
                             Notice to Attorney Nicole Feder to RE-FILE Document 18 MOTION to Dismiss . Use
                             the event type Affidavit (non-motion) found under the event list Other Answers.
                             NOTE: Re-file and link to document # 6 Order to Show Cause. (ldi) (Entered:
                             05/31/2018)
  05/31/2018           25 MEMORANDUM OF LAW in Opposition re: 6 Order to Show Cause,, . Document filed
                          by Hinshaw & Culbertson, L.L.P., Hal Lieberman, Richard Supple. (Feder, Nicole)
                          (Entered: 05/31/2018)
  05/31/2018           26 DECLARATION of Nicole Feder, Esq. in Opposition re: 6 Order to Show Cause,,.
                          Document filed by Hinshaw & Culbertson, L.L.P., Hal Lieberman, Richard Supple.
                          (Attachments: # 1 Exhibit Complaint, # 2 Exhibit Hon. Furman Decision 5.2.13, # 3
                          Exhibit Hon. Furman Decision 5.14.13, # 4 Exhibit Amended Complaint, # 5 Exhibit Hon.
                          Lebovitz Decision 8.25.16, # 6 Exhibit Appellate Div. First Dept. Decision 2.22.18, # 7
                          Exhibit Correspondence Court of Appeals 4.3.18, # 8 Exhibit Correspondence Court of
                          Appeals 4.13.18, # 9 Exhibit Magistrate Pitman Decision 11.20.14, # 10 Exhibit Hon. Katz
                          Decision 2.10.16, # 11 Exhibit Correspondence Appellate Div. First Dept. 4.30.15, # 12
                          Exhibit Correspondence Appellate Division First Dept. 4.24.15, # 13 Exhibit Gurvey
                          Motion 10.13.15, # 14 Exhibit Supple Response pt. 1, # 15 Exhibit Supple Response pt. 2,
                          # 16 Exhibit Appellate Division Decision 4.21.16)(Feder, Nicole) (Entered: 05/31/2018)
  05/31/2018           27 AFFIDAVIT of Hal R. Lieberman in Opposition re: 6 Order to Show Cause,,. Document
                          filed by Hinshaw & Culbertson, L.L.P., Hal Lieberman, Richard Supple. (Attachments: # 1
                          Exhibit Affidavit of Service, # 2 Exhibit Current Employee List)(Feder, Nicole) (Entered:
                          05/31/2018)
  05/31/2018           28 PLAINTIFF'S REPLY TO DEFENDANTS' OPPOSITION PAPERS AND IN FURTHER
                          SUPPORT OF PLAINTIFF'S ORDER TO SHOW CAUSE; re: 27 Affidavit in Opposition,
                          26 Declaration in Opposition, 25 Memorandum of Law in Opposition. Document filed by
                          Amy R. Weissbrod Gurvey. (sc) (Entered: 06/01/2018)
  06/05/2018           29 ORDER OF DISMISSAL: Accordingly, the action is DISMISSED with prejudice. All
                          conferences are vacated. All pending motions are moot. The Clerk of the Court is directed
                          to close the case and to mail Plaintiff pro se a copy of this order. Plaintiff is warned that
                          further frivolous litigation may result in the imposition of sanctions, including monetary
                          penalties and filing injunctions. (As further set forth in this Order.) (Signed by Judge
                          Analisa Torres on 6/5/2018) (cf) (Entered: 06/05/2018)
  06/05/2018                 Transmission to Docket Assistant Clerk. Transmitted re: 29 Order of Dismissal to the
                             Docket Assistant Clerk for case processing. (cf) (Entered: 06/05/2018)
  06/05/2018                 Mailed a copy of 29 Order of Dismissal to Amy R. Weissbrod Gurvey 315 Highland
                             Avenue Upper Montclair, NJ 07043. (mhe) (Entered: 06/05/2018)
  06/11/2018           30 MOTION for Leave to Proceed In Forma Pauperis On Appeal. Document filed by Amy R.
                          Weissbrod Gurvey. (tp) (Entered: 06/12/2018)
  06/12/2018           31 NOTICE OF APPEAL TO THE FEDERAL CIRCUIT from 29 Order of Dismissal. Form 7
                          and Form 22 are due within 14 days. Document filed by Amy R. Weissbrod Gurvey. (tp)
                          (Entered: 06/12/2018)
  06/12/2018                 Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                             Appeals for the Federal Circuit re: 31 Notice of Appeal to the Federal Circuit. (tp)
                             (Entered: 06/12/2018)
  06/12/2018                 Appeal Record Sent to USCA Federal Circuit (Electronic File). Certified Indexed record
                             on Appeal Electronic Files for 31 Notice of Appeal to the Federal Circuit filed by Amy R.
                                                                                                     EXHIBIT 38
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                             Weissbrod Gurvey were transmitted to the U.S. Court of Appeals for the Federal Circuit.
                             (tp) (Entered: 06/12/2018)
  06/15/2018           32 NOTICE OF DOCKETING & USCA Case Number 18-2076 from the U.S. Court of
                          Appeals, Federal Circuit assigned to 31 Notice of Appeal to the Federal Circuit filed by
                          Amy R. Weissbrod Gurvey. (nd) (Entered: 06/18/2018)
  07/22/2018           33 LETTER from Amy R. Gurvey, dated 7/22/18 re: Plaintiff/Appellant Amy R. Gurvey
                          requests that the SDNY Clerk forward to the U.S. Court of Appeals for the Federal Circuit
                          complete copies of the followng docketed documents inclusive of exhibits filed in this
                          lawsuit and send to Plaintiff confirmation and date of transmission to the above address(as
                          indicated): SDNY Docket #s 1, 2, 6, 8, 10, 11, 12, 13, 20, 21, 22, 25, 26, 27, 28. Document
                          filed by Amy R. Weissbrod Gurvey.(sc) (Entered: 07/23/2018)
  09/06/2018                 USCA Appeal Fees received $ 505.00 receipt number 465401217568 re: 31 Notice of
                             Appeal to the Federal Circuit filed by Amy R. Weissbrod Gurvey. (tp) (Entered:
                             09/06/2018)
  09/17/2018           34 MOTION for Reconsideration. Document filed by Amy R. Weissbrod Gurvey.(kv)
                          (Entered: 09/19/2018)
  09/19/2018           35 ORDER of USCA (Certified Copy) as to 31 Notice of Appeal to the Federal Circuit filed
                          by Amy R. Weissbrod Gurvey. USCA Case Number 18-2076. IT IS ORDERED THAT: (1)
                          The motion for oral argument is deferred to the merits panel assigned to this case. (2) The
                          motion for electronic service is denied. (3) The motion to withdraw the informal brief and
                          replace it with a formal brief is denied. (4) A copy of this order shall be transmitted to the
                          merits panel assigned to the case. Peter R. Marksteiner, Clerk USCA for the Federal
                          Circuit. Certified: 09/19/2018. (nd) (Entered: 09/19/2018)
  10/01/2018           36 REPLY AFFIRMATION of Shawn Kerby in Opposition re: 34 MOTION for
                          Reconsideration.. Document filed by Hearing Panel IV, NYS Office of Court
                          Administration (Lawrence Marks & John McConnell, chief counsels). (Kerby, Shawn)
                          (Entered: 10/01/2018)
  10/01/2018           37 AFFIDAVIT OF SERVICE of Affirmation in Opposition served on Amy Weissbrod-
                          Gurvey on 10-01-2018. Service was made by Mail. Document filed by Hearing Panel IV,
                          NYS Office of Court Administration (Lawrence Marks & John McConnell, chief
                          counsels). (Kerby, Shawn) (Entered: 10/01/2018)
  10/02/2018           38 ORDER denying 34 Motion for Reconsideration. Accordingly, Plaintiffs motion for
                          reconsideration is DENIED, and the Clerk of Court is directed to terminate the motion at
                          ECF No. 34. The Clerk of Court is further directed to mail a copy of this order to Plaintiff
                          pro se. Plaintiffs case is closed, although the Court will accept for filing documents that are
                          directed to the Court of Appeals for the Federal Circuit. Plaintiff is again warned that
                          further frivolous litigation may result in the imposition of sanctions, including monetary
                          penalties and filing injunctions. SO ORDERED. (Signed by Judge Analisa Torres on
                          10/2/2018) (jca) Transmission to Docket Assistant Clerk for processing. (Entered:
                          10/02/2018)
  10/02/2018                 Mailed a copy of 38 Order on Motion for Reconsideration, to Amy R. Weissbrod Gurvey
                             315 Highland Avenue Upper Montclair, NJ 07043. (aea) (Entered: 10/02/2018)
  11/19/2018           39 ORDER of USCA (Certified Copy) as to 31 Notice of Appeal to the Federal Circuit filed
                          by Amy R. Weissbrod Gurvey. USCA Case Number 18-2076. Before the court are Amy R.
                          Weissbrod Gurveys motions, docketed as ECF Nos. 54, 57, 71, and 89, seeking: (1)
                          reconsideration of this court's September 19, 2018 order; (2) to stay proceedings pending
                          the district court's consideration of a motion for reconsideration; (3) for this court to
                          reform the caption; (4) to file an out-of-time reply brief that exceeds the word limits; (5) to
                                                                                                      EXHIBIT 38
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?944785616995984-L_1_0-1                                                 8/10
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8/23/23, 4:48 PM 2:23-cv-04381-MEMF-E               Document      22-5
                                                                SDNY CM/ECFFiled  09/08/23
                                                                            NextGen Version 1.7 Page 30 of 65 Page
                                                               ID #:868
                             file a second reply brief; to strike the briefs of several defendants; (6) for sanctions; and (7)
                             for other various relief. In its September 19, 2018 order, the court denied Ms. Weissbrod
                             Gurvey's motions to file a replacement opening brief and to file documents electronically
                             and deferred her motion for oral argument to the merits panel assigned to the case. Ms.
                             Weissbrod Gurvey has shown no basis for reconsideration of that order. After Ms.
                             Weissbrod Gurvey filed her notice of appeal from the district courts dismissal order, she
                             filed a motion for reconsideration at the district court. On October 2, 2018, the district
                             court denied the motion. Because that motion has been acted on, the request to stay is
                             moot. With regard to Ms. Weissbrod Gurvey's reply briefs, the court deems it the better
                             course to accept ECF No. 55 as Ms. Weissbrod Gurvey's reply brief. The courts rules
                             contemplate a single reply brief, see e.g., Fed. Cir. R. 31(e)(3), and Ms. Weissbrod Gurvey
                             provides no basis from deviating from that practice. The court has considered Ms.
                             Weissbrod Gurvey's other requests for relief and denies those requests. Accordingly, IT IS
                             ORDERED THAT: (1) Ms. Weissbrod Gurvey's reply brief docketed at ECF No. 55 is
                             accepted for filing. All other motions and requests for relief in ECF Nos. 54, 57, 71, and 89
                             are denied. (2) The matter is ready for assignment to a merits panel. Future filings will be
                             transmitted to the merits panel assigned to this case. Peter R. Marksteiner, Clerk USCA for
                             the Federal Circuit. Certified: 11/19/2018. (nd) (Entered: 11/19/2018)
  12/14/2018           42 LETTER addressed to Judge Analisa Torres from Amy Weissbrod Gurvey, dated 12/11/18
                          re: APPLICATION TO REMAND PLAINTIFF'S APPEAL TO THE SDNY TO ALLOW
                          PLAINTIFF TO AMEND HER COMPLAINTI. Document filed by Amy R. Weissbrod
                          Gurvey.(sc) (Entered: 12/18/2018)
  02/11/2019           43 OPINION of USCA (Certified) as to 31 Notice of Appeal to the Federal Circuit filed by
                          Amy R. Weissbrod Gurvey. USCA Case Number 18-2076. Amy R. Weissbrod Gurvey
                          appeals the district court's dismissal of her case. Because Gurvey fails to allege a non-
                          frivolous claim arising under the patent laws, we dismiss the appeal for lack of
                          jurisdiction.. Peter R. Marksteiner, Clerk USCA for the Federal Circuit. Issued As Order:
                          2/11/2019. Certified: 2/11/2019. (nd) (Entered: 02/11/2019)
  02/11/2019           44 TRUE COPY ORDER of USCA as to 31 Notice of Appeal to the Federal Circuit filed by
                          Amy R. Weissbrod Gurvey. USCA Case Number 18-2076. THIS CAUSE having been
                          considered, it is ORDERED AND ADJUDGED: DISMISSED. Peter R. Marksteiner, Clerk
                          USCA for the Federal Circuit. Issued As Order: 2/11/2019. Certified: 2/11/2019. (nd)
                          (Entered: 02/11/2019)
  02/15/2019           45 ORDER denying as moot 30 Motion for Leave to Appeal in forma pauperis. The Clerk of
                          Court is directed to mail a copy of this order to Plaintiff pro se. (HEREBY ORDERED by
                          Judge Analisa Torres)(Text Only Order) (Pasculli, Victoria) Transmission to Docket
                          Assistant Clerk for processing. (Entered: 02/15/2019)
  02/15/2019                 Mailed a text-only copy of 45 Order on Motion for Leave to Appeal in forma pauperis, to
                             Amy R. Weissbrod Gurvey 315 Highland Avenue Upper Montclair, NJ 07043. (aea)
                             (Entered: 02/15/2019)
  03/20/2019           46 MANDATE of USCA (Certified Copy) as to 31 Notice of Appeal to the Federal Circuit
                          filed by Amy R. Weissbrod Gurvey. USCA Case Number 18-2076. In accordance with the
                          judgment ( 44 USCA Order) of this Court, entered February 11, 2019, and pursuant to Rule
                          41 of the Federal Rules of Appellate Procedure, the formal mandate is hereby issued.. Peter
                          R. Marksteiner, Clerk USCA for the Federal Circuit. Issued As Mandate: 3/20/2019. (nd)
                          (Entered: 03/20/2019)
  05/15/2019           47 LETTER addressed to Clerk's Office from Plaintiff-Appeallant dated 5/10/2019 re: seeking
                          both an order granting reconsideration and an order vacating this Court's judgment Court

                                                                                                         EXHIBIT 38
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                                                          ID #:869
                             February 11, 2019 pursuant to FRCP Rules 59 and 60(b). 753 Fed. Appx. 906 (Fed. Cir.
                             2019).. Document filed by Amy R. Weissbrod Gurvey.(kv) (Entered: 05/15/2019)



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                                                               08/23/2023 17:46:42
                                   PACER Login: rslittle                  Client Code:
                                   Description:        Docket Report Search Criteria: 1:18-cv-02206-AT
                                   Billable Pages:     8                  Cost:          0.80




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                              EXHIBIT 39


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                                                                  ID #:871
                                                               General Docket
                                             United States Court of Appeals for the Federal Circuit
  Court of Appeals Docket #: 18-2076                                                                                  Docketed: 06/15/2018
  Nature of Suit: 440 Other Civil Rights (Fed. Qst.)                                                                    Termed: 02/11/2019
  Weissbrod Gurvey v. Lippman
  Appeal From: United States District Court for the Southern District of New York
  Fee Status: fee paid

  Case Type Information:
    1) Civil Private
    2) -
    3) -

  Originating Court Information:
     District: 0208-1 : 1:18-cv-02206-AT
     Trial Judge: Analisa Torres, Judge
     Date Filed: 03/12/2018
     Date NOA Filed:                                                      Date Rec'd COA:
     06/12/2018                                                           06/12/2018

  Prior Cases:
     None

  Current Cases:
    None



  AMY R. WEISSBROD GURVEY                                                Amy R. Weissbrod Gurvey, -
            Plaintiff - Appellant                                        [NTC Pro Se]
                                                                         315 Highland Avenue
                                                                         Upper Montclair, NJ 07043
  v.

  JONATHAN LIPPMAN                                                       David Lawrence, III, Assistant Solicitor General
           Defendant - Appellee                                          Direct: 212-416-8023
                                                                         Email: david.lawrence@ag.ny.gov
                                                                         [LD NTC Government]
                                                                         NYS Office of The Attorney General
                                                                         Litigation Bureau
                                                                         28 Liberty Street
                                                                         New York, NY 10005

                                                                         Barbara D. Underwood, Attorney General
                                                                         [COR Government]
                                                                         NYS Office of The Attorney General
                                                                         Litigation Bureau
                                                                         28 Liberty Street
                                                                         New York, NY 10005

                                                                         Steven C. Wu, Deputy Solicitor General
                                                                         [COR Government]
                                                                         NYS Office of The Attorney General
                                                                         Litigation Bureau
                                                                         28 Liberty Street
                                                                         New York, NY 10005

  PETER TOM                                                              David Lawrence, III, Assistant Solicitor General
                Defendant - Appellee                                     Direct: 212-416-8023
                                                                         [LD NTC Government]
                                                                         (see above)

                                                                         Barbara D. Underwood, Attorney General
                                                                         [COR Government]
                                                                         (see above)

                                                                         Steven C. Wu, Deputy Solicitor General

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                                                                  ID #:872
                                                                       [COR Government]
                                                                         (see above)

  LUIS GONZALEZ                                                          David Lawrence, III, Assistant Solicitor General
            Defendant - Appellee                                         Direct: 212-416-8023
                                                                         [LD NTC Government]
                                                                         (see above)

                                                                         Barbara D. Underwood, Attorney General
                                                                         [COR Government]
                                                                         (see above)

                                                                         Steven C. Wu, Deputy Solicitor General
                                                                         [COR Government]
                                                                         (see above)

  ROLANDO ACOSTA                                                         David Lawrence, III, Assistant Solicitor General
           Defendant - Appellee                                          Direct: 212-416-8023
                                                                         [LD NTC Government]
                                                                         (see above)

                                                                         Barbara D. Underwood, Attorney General
                                                                         [COR Government]
                                                                         (see above)

                                                                         Steven C. Wu, Deputy Solicitor General
                                                                         [COR Government]
                                                                         (see above)

  NAOMI GOLDSTEIN                                                        David Lawrence, III, Assistant Solicitor General
           Defendant - Appellee                                          Direct: 212-416-8023
                                                                         [LD NTC Government]
                                                                         (see above)

                                                                         Barbara D. Underwood, Attorney General
                                                                         [COR Government]
                                                                         (see above)

                                                                         Steven C. Wu, Deputy Solicitor General
                                                                         [COR Government]
                                                                         (see above)

  SHERRY COHEN                                                           David Lawrence, III, Assistant Solicitor General
           Defendant - Appellee                                          Direct: 212-416-8023
                                                                         [LD NTC Government]
                                                                         (see above)

                                                                         Barbara D. Underwood, Attorney General
                                                                         [COR Government]
                                                                         (see above)

                                                                         Steven C. Wu, Deputy Solicitor General
                                                                         [COR Government]
                                                                         (see above)

  JORGE DOPICO                                                           David Lawrence, III, Assistant Solicitor General
           Defendant - Appellee                                          Direct: 212-416-8023
                                                                         [LD NTC Government]
                                                                         (see above)

                                                                         Barbara D. Underwood, Attorney General
                                                                         [COR Government]
                                                                         (see above)

                                                                         Steven C. Wu, Deputy Solicitor General
                                                                         [COR Government]
                                                                         (see above)

  ALAN W. FRIEDBERG                                                      David Lawrence, III, Assistant Solicitor General
             Defendant - Appellee                                        Direct: 212-416-8023
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                                                                         (see above)

                                                                         Barbara D. Underwood, Attorney General
                                                                         [COR Government]
                                                                         (see above)

                                                                         Steven C. Wu, Deputy Solicitor General
                                                                         [COR Government]
                                                                         (see above)

  RAYMOND VALLEJO                                                        David Lawrence, III, Assistant Solicitor General
           Defendant - Appellee                                          Direct: 212-416-8023
                                                                         [LD NTC Government]
                                                                         (see above)

                                                                         Barbara D. Underwood, Attorney General
                                                                         [COR Government]
                                                                         (see above)

                                                                         Steven C. Wu, Deputy Solicitor General
                                                                         [COR Government]
                                                                         (see above)

  ORLANDO REYES                                                          David Lawrence, III, Assistant Solicitor General
           Defendant - Appellee                                          Direct: 212-416-8023
                                                                         [LD NTC Government]
                                                                         (see above)

                                                                         Barbara D. Underwood, Attorney General
                                                                         [COR Government]
                                                                         (see above)

                                                                         Steven C. Wu, Deputy Solicitor General
                                                                         [COR Government]
                                                                         (see above)

  LAUREN HOLMES                                                          David Lawrence, III, Assistant Solicitor General
           Defendant - Appellee                                          Direct: 212-416-8023
                                                                         [LD NTC Government]
                                                                         (see above)

                                                                         Barbara D. Underwood, Attorney General
                                                                         [COR Government]
                                                                         (see above)

                                                                         Steven C. Wu, Deputy Solicitor General
                                                                         [COR Government]
                                                                         (see above)

  HEARING PANEL IV                                                       Shawn Kerby
            Defendant - Appellee                                         Direct: 212-428-2172
                                                                         Email: skerby@courts.state.ny.us
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                                                                         Office of Court Administration
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                                                                         John W. McConnell, Counsel
                                                                         [COR Government]
                                                                         Office of Court Administration
                                                                         25 Beaver Street
                                                                         11th Floor
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            Defendant - Appellee                                         Direct: 516-294-8844
                                                                         Email: nfeder@lbcclaw.com
                                                                         [LD NTC Retained]
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                                                                  ID #:874
                                                                       L'Abbate Balkan Colavita & Contini
                                                                        Suite 102-S
                                                                        3 Huntington Qualdrangle
                                                                        Melville, NY 11747

  RICHARD SUPPLE                                                        Nicole Feder
           Defendant - Appellee                                         Direct: 516-294-8844
                                                                        [LD NTC Retained]
                                                                        (see above)

  HAL LIEBERMAN                                                         Nicole Feder
            Defendant - Appellee                                        Direct: 516-294-8844
                                                                        [LD NTC Retained]
                                                                        (see above)

  NYS OFFICE OF COURT ADMINISTRATION, (Lawrence Marks &                 Shawn Kerby
  John McConnell, Chief Counsel)                                        Direct: 212-428-2172
            Defendant - Appellee                                        [LD NTC Government]
                                                                        (see above)

                                                                        John W. McConnell, Counsel
                                                                        [COR Government]
                                                                        (see above)

  STATE OF NEW YORK                                                     David Lawrence, III, Assistant Solicitor General
            Defendant - Appellee                                        Direct: 212-416-8023
                                                                        [LD NTC Government]
                                                                        (see above)

                                                                        Barbara D. Underwood, Attorney General
                                                                        [COR Government]
                                                                        (see above)

                                                                        Steven C. Wu, Deputy Solicitor General
                                                                        [COR Government]
                                                                        (see above)

  CITY OF NEW YORK                                                      Susan Paulson, Assistant Corporation Counsel
            Defendant - Appellee                                        Direct: 212-356-0821
                                                                        Email: spaulson@law.nyc.gov
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                                                                        New York City Law Department
                                                                        Appeals Division
                                                                        100 Church Street
                                                                        New York, NY 10007

                                                                        Zachary W. Carter
                                                                        [COR Government]
                                                                        Office of the Corporation Counsel
                                                                        Appeals Division
                                                                        100 Church Street
                                                                        New York, NY 10007

                                                                        Kathy Chang Park, Assistant Corporation Counsel
                                                                        Direct: 212-356-0855
                                                                        Email: kpark@law.nyc.gov
                                                                        [COR NTC Government]
                                                                        Office of the Corporation Counsel
                                                                        Appeals Division
                                                                        100 Church Street
                                                                        New York, NY 10007

  THOMAS CAHILL
           Defendant

  DAVID SPOKONY
            Defendant

  JAMES SHED
                                                                                                                    EXHIBIT 39
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                Defendant                                         ID #:875

  O. LEE SQUITIERI
             Defendant

  SQUITIERI & FEARON, LLP
             Defendant

  DOES 1-10
                Defendant




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                                                                  ID #:876
  AMY R. WEISSBROD GURVEY,

                Plaintiff - Appellant

  v.

  JONATHAN LIPPMAN, PETER TOM, LUIS GONZALEZ, ROLANDO ACOSTA, NAOMI GOLDSTEIN, SHERRY COHEN, JORGE
  DOPICO, ALAN W. FRIEDBERG, RAYMOND VALLEJO, ORLANDO REYES, LAUREN HOLMES, HEARING PANEL IV, HINSHAW &
  CULBERTSON, LLP, RICHARD SUPPLE, HAL LIEBERMAN, NYS OFFICE OF COURT ADMINISTRATION, (Lawrence Marks & John
  McConnell, Chief Counsel), STATE OF NEW YORK, CITY OF NEW YORK,

                Defendants - Appellees

  THOMAS CAHILL, DAVID SPOKONY, JAMES SHED, O. LEE SQUITIERI, SQUITIERI & FEARON, LLP, DOES 1-10,

                Defendants




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                                                                  ID #:877
  06/15/2018          1            Appeal docketed. Received: 06/12/2018. [529733]
                9 pg, 888.99 KB    Fee/IFP due 06/29/2018. Entry of Appearance due 06/29/2018. Certificate of Interest due 06/29/2018.
                                   Appellant's informal brief due 07/06/2018. [MJL] [Entered: 06/15/2018 10:29 AM]
  07/03/2018                       MOTION of Appellant Amy R. Weissbrod Gurvey for leave to proceed in Forma Pauperis. Service:
                      2
                0 pg, 0 KB         06/30/2018 by US mail. [535179] [CMP] [Entered: 07/11/2018 02:57 PM]

  07/03/2018          3            Entry of appearance for Appellant Amy R. Gurvey as pro se. [Document submitted by fax. No action taken
                2 pg, 466.71 KB    by clerk as form is not required for pro se parties.] Service: 06/30/2018 by US mail. [535193] [CMP]
                                   [Entered: 07/11/2018 03:30 PM]
  07/03/2018          4            MOTION of Appellant Amy R. Weissbrod Gurvey to allow argument [Consent: not addressed]. Service:
                6 pg, 1.16 MB      06/30/2018 by US mail. [535490] [CMP] [Entered: 07/12/2018 02:58 PM]
  07/06/2018          5            Entry of appearance for Appellant Amy R. Gurvey as pro se. Service: 06/30/2018 by US mail. [535494]
                3 pg, 610.34 KB    [CMP] [Entered: 07/12/2018 03:06 PM]
  07/06/2018          6            Duplicate copy of motion of Appellant Amy R. Weissbrod Gurvey to allow argument from Appellant.
                6 pg, 1.41 MB      Service: 06/30/2018 by US mail. [535504] [CMP] [Entered: 07/12/2018 03:12 PM]
  07/06/2018          7            INFORMAL BRIEF FILED with APPENDIX for Appellant Amy R. Weissbrod Gurvey. Number of Pages: 2.
                13 pg, 3.24 MB     Service: 06/30/2018 by US mail. Informal Response Brief is due 07/26/2018 for Appellees Rolando Acosta,
                                   et al.. [535512] [CMP] [Entered: 07/12/2018 03:25 PM]
  07/06/2018                       Confidential document received. [Duplicate copy of motion for leave to proceed in Forma Pauperis
                      8
                0 pg, 0 KB         corresponding to Doc No. [2]) from Appellant Amy R. Weissbrod Gurvey.] Service: 07/12/2018 by clerk.
                                   [535531] [CMP] [Entered: 07/12/2018 03:36 PM]
  07/09/2018          9            Duplicate copy of Entry of appearance for Appellant Amy R. Gurvey as pro se. Service: 06/30/2018 by US
                3 pg, 653.9 KB     mail. [535538] [CMP] [Entered: 07/12/2018 03:49 PM]
  07/09/2018          10           Duplicate copy of INFORMAL BRIEF with APPENDIX [7] for Appellant Amy R. Weissbrod Gurvey. Number
                8 pg, 2.1 MB       of Pages: 2. Service: 06/30/2018 by US mail [535539] [CMP] [Entered: 07/12/2018 03:56 PM]
  07/18/2018          11           Entry of appearance for David Lawrence III as principal counsel for Appellees Jonathan Lippman, Luis
                3 pg, 152.39 KB    Gonzalez, Peter Tom, Rolando Acosta, Jorge DoPico, Naomi Goldstein, Lauren Holmes, State of New
                                   York, Raymond Vallejo, Orlando Reyes, Sherry Cohen and Alan W. Friedberg. Service: 07/18/2018 by
                                   email, US mail. [536702] [18-2076] [David Lawrence] [Entered: 07/18/2018 10:12 AM]
  07/19/2018          22           (Construed as) MOTION of Appellant Amy R. Weissbrod Gurvey leave to file electronically in this case.
                2 pg, 464.61 KB    [Consent: not addressed]. Service: 07/27/2018 by clerk. [538949] [CMP] [Entered: 07/27/2018 09:45 AM]
  07/23/2018          12           Notice to counsel for Appellees Thomas Cahill, City of New York, Does 1-10, Hearing Panel IV, Hinshaw &
                                   Culbertson, LLP, Hal Lieberman, NYS Office of Court Administration, James Shed, David Spokony, O. Lee
                                   Squitieri, Squitieri & Fearon, LLP and Richard Supple: The record of this case indicates that sn Entry of
                                   Appearance has not been filed and is overdue. Please submit the document(s) promptly. Service as of this
                                   date by the Clerk of Court. [537925] [CMP] [Entered: 07/23/2018 04:18 PM]
  07/23/2018          23           Letter from Appellant Amy R. Weissbrod Gurvey (duplicate copy) of construed motion for leave to file
                3 pg, 647.74 KB    electronically. Service: 07/27/2018 by clerk. [538952] [CMP] [Entered: 07/27/2018 09:49 AM]
  07/23/2018          27           Letter from United States District Court for the Southern District of New York (Plaintiff's request for access
                2 pg, 323.71 KB    to district court documents). [539675] [CMP] [Entered: 07/31/2018 11:13 AM]
  07/24/2018          13           Entry of appearance for Nicole Feder as principal counsel for Appellees Hinshaw & Culbertson, LLP, Hal
                2 pg, 107.35 KB    Lieberman and Richard Supple. Service: 07/24/2018 by US mail. [538095] [18-2076] [Nicole Feder]
                                   [Entered: 07/24/2018 10:28 AM]
  07/24/2018          14           Notice from Appellees Rolando Acosta, Sherry Cohen, Jorge DoPico, Alan W. Friedberg, Naomi Goldstein,
                2 pg, 122.73 KB    Luis Gonzalez, Lauren Holmes, Jonathan Lippman, Orlando Reyes and State of New York regarding
                                   conflicts with oral argument (September 25 and 26, 2018). Service: 07/24/2018 by email, US mail.
                                   [538288] [18-2076] [David Lawrence] [Entered: 07/24/2018 04:37 PM]
  07/24/2018          28           MOTION of Appellant Amy R. Weissbrod Gurvey for various reliefs (withdraw informal opening brief,
                195 pg, 46.62 MB   extend time to file formal opening brief, request to electronic file, request for oral argument). [Consent: not
                                   addressed]. Service: 07/23/2018 by US mail. [539680] [CMP] [Entered: 07/31/2018 11:17 AM]
  07/25/2018          15           Entry of appearance for Shawn Kerby as principal counsel for Appellee NYS Office of Court Administration.
                2 pg, 106.78 KB    Service: 07/25/2018 by email, US mail. [538517] [18-2076] [Shawn Kerby] [Entered: 07/25/2018 02:12 PM]
  07/25/2018          16           Entry of appearance for Susan Paulson as principal counsel for Appellee City of New York. Service:
                2 pg, 60.95 KB     07/25/2018 by email, US mail. [538521] [18-2076] [Susan Paulson] [Entered: 07/25/2018 02:52 PM]
  07/26/2018          17           Entry of appearance for Kathy Park as of counsel for Appellee City of New York. Service: 07/26/2018 by
                                                                                                                          EXHIBIT 39
https://ecf.cafc.uscourts.gov/n/beam/servlet/TransportRoom                                                                                          7/14
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8/23/23, 5:12 PM 2:23-cv-04381-MEMF-E                    Document 22-518-2076     Filed   09/08/23 Page 40 of 65 Page
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                2 pg, 68.25 KB                                     ID   #:878
                                   email, US mail. [538637] [18-2076] [Kathy Park] [Entered: 07/26/2018 09:06 AM]
  07/26/2018          18           TENDERED from Appellee NYS Office of Court Administration. Title: RESPONSE BRIEF. Service:
                16 pg, 1.35 MB     07/26/2018 by email, US mail. [538740] [18-2076] [Shawn Kerby] [Entered: 07/26/2018 12:41 PM]
  07/26/2018                       TENDERED from Appellee City of New York. Title: RESPONSE BRIEF. Service: 07/26/2018 by email, US
                      19
                0 pg, 0 KB         mail. [538752] [18-2076]. This brief is non-compliant. See Doc. No. [47]. [Susan Paulson] [Entered:
                                   07/26/2018 01:22 PM]
  07/26/2018                       TENDERED from Appellees Hinshaw & Culbertson, LLP, Hal Lieberman and Richard Supple. Title:
                      20
                0 pg, 0 KB         RESPONSE BRIEF. Service: 07/26/2018 by email, US mail. [538816] [18-2076]. This brief is non-
                                   compliant. See Doc. No. [48]. [Nicole Feder] [Entered: 07/26/2018 03:26 PM]
  07/26/2018                       TENDERED from Appellees Jonathan Lippman, Rolando Acosta, Peter Tom, Luis Gonzalez, Jorge DoPico,
                      21
                0 pg, 0 KB         Sherry Cohen, Naomi Goldstein, Alan W. Friedberg, Raymond Vallejo, Orlando Reyes, State of New York
                                   and Lauren Holmes. Title: COMBINED RESPONSE BRIEF & SUP APX (per FCR 30(f)). Service:
                                   07/26/2018 by email, US mail. [538884] [18-2076]. This brief and appendix are non-compliant. See Doc.
                                   No. [49]. [David Lawrence] [Entered: 07/26/2018 06:26 PM]
  07/26/2018          45           INFORMAL BRIEF FILED for Appellee NYS Office of Court Administration [18]. Number of Pages: 9.
                15 pg, 857.11 KB   Service: 07/26/2018 by email, US mail. Three paper copies of the brief should be received by the court on
                                   or before 09/26/2018. [551162] [MJL] [Entered: 09/19/2018 05:56 PM]
  07/27/2018          24           Certificate of Interest for the Appellees Hinshaw & Culbertson, LLP, Hal Lieberman and Richard Supple.
                3 pg, 87.98 KB     Service: 07/27/2018 by email, US mail. [539002] [18-2076] [Nicole Feder] [Entered: 07/27/2018 11:10 AM]
  07/27/2018          25           Entry of appearance for Susan Paulson as principal counsel for Appellee City of New York. Service:
                1 pg, 56.33 KB     07/27/2018 by email, US mail. [539004] [18-2076] [Susan Paulson] [Entered: 07/27/2018 11:17 AM]
  07/27/2018          26           Certificate of Interest for the Appellee NYS Office of Court Administration. Service: 07/27/2018 by email,
                2 pg, 166.26 KB    US mail. [539010] [18-2076] [Shawn Kerby] [Entered: 07/27/2018 11:31 AM]
  07/27/2018          33           5 paper copies of the Informal Brief [19] received from Appellee City of New York cannot be filed at this
                                   time; reason: pending motion to withdraw Appellant's Informal Opening Brief. [546180] [CJF] [Entered:
                                   08/29/2018 03:44 PM]
  07/31/2018          29           The briefs submitted by Appellees Rolando Acosta, City of New York, Sherry Cohen, Jorge DoPico, Alan
                                   W. Friedberg, Naomi Goldstein, Luis Gonzalez, Hinshaw & Culbertson, LLP, Lauren Holmes, Hal
                                   Lieberman, Jonathan Lippman, NYS Office of Court Administration, Orlando Reyes, State of New York,
                                   Richard Supple, Peter Tom and Raymond Vallejo [18], [19], [20], [21] cannot be filed at this time; reason:
                                   pending motin to withdraw Appellant's Informal Opening Brief. [539695] [CMP] [Entered: 07/31/2018 11:33
                                   AM]
  07/31/2018          34           3 paper copies of the Brief [21] received from Appellees Rolando Acosta, Naomi Goldstein, Jonathan
                                   Lippman, Peter Tom, Sherry Cohen, Jorge DoPico, Alan W. Friedberg, Lauren Holmes, Orlando Reyes,
                                   State of New York and Raymond Vallejo cannot be filed at this time; reason: pending motion to withdraw
                                   Appellant's Informal Opening Brief. [546189]--[Edited 08/29/2018 by JCP] [CJF] [Entered: 08/29/2018
                                   03:55 PM]
  07/31/2018          35           6 paper copies of the Appendix Brief [21] received from Appellees Rolando Acosta, Sherry Cohen, Jorge
                                   DoPico, Alan W. Friedberg, Naomi Goldstein, Luis Gonzalez, Lauren Holmes, Jonathan Lippman, Orlando
                                   Reyes, State of New York, Peter Tom and Raymond Vallejo cannot be filed at this time; reason: pending
                                   motion to withdraw Appellant's Informal Opening Brief. [546199] [CJF] [Entered: 08/29/2018 04:03 PM]
  08/02/2018          30           Official caption revised to reflect non-participation by certain defendants. The official caption is reflected on
                                   the electronic docket under the listing of the parties and counsel. Service as of this date by the Clerk of
                                   Court. [540421] [CMP] [Entered: 08/02/2018 12:40 PM]
  08/03/2018          31           RESPONSE of Appellee NYS Office of Court Administrationfrom hearing panel iv to the motion for other
                6 pg, 206.3 KB     relief [28] filed by Appellant Amy R. Weissbrod Gurvey. Service: 08/03/2018 by email, US mail. [540600]
                                   [18-2076] [Shawn Kerby] [Entered: 08/03/2018 09:41 AM]
  08/03/2018          32           RESPONSE of Appellees Hal Lieberman, Richard Supple and Hinshaw & Culbertson, LLP to the motion
                43 pg, 2.43 MB     [28] filed by Appellant Amy R. Weissbrod Gurvey. Service: 08/03/2018 by email, US mail. [540748] [18-
                                   2076] [Nicole Feder] [Entered: 08/03/2018 03:32 PM]
  08/24/2018                       TENDERED from Appellant Amy R. Weissbrod Gurvey. Title: REPLY BRIEF. [547923] This document is
                      37
                0 pg, 0 KB         non-compliant. See Doc No. [38]. [CMP] [Entered: 09/07/2018 11:37 AM]

  08/24/2018          41           3 paper copies of the Informal Reply Brief [37] received from Appellant Amy R. Weissbrod Gurvey.
                                   [549354] [CJF] [Entered: 09/13/2018 09:02 AM]
  08/30/2018          36           ORDER filed. The motion [2] is denied. The $505 filing fee must be paid within 30 days of the date of filing
                2 pg, 75.27 KB     of this order. Service: 08/30/2018 by clerk. [546299] [LMS] [Entered: 08/30/2018 07:28 AM]


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  08/31/2018
                                                                  ID  #:879
                                   Notice from Appellant Amy R. Weissbrod Gurvey. Service: 08/30/2018 by US mail. [551085] [MJL]
                      43
                3 pg, 607.82 KB    [Entered: 09/19/2018 04:07 PM]
  09/05/2018          44           Duplicate copy of notice [43] for Appellant Amy R. Weissbrod Gurvey. Service: 08/30/2018 by US mail.
                3 pg, 579.96 KB    [551086] [MJL] [Entered: 09/19/2018 04:08 PM]
  09/07/2018          38           NOTICE OF NON-COMPLIANCE: The submission of Appellant Amy R. Weissbrod Gurvey, Informal Reply
                2 pg, 63.77 KB     Brief [37], is not in compliance with the rules of this court (see attached). Compliant document is due by
                                   09/21/2018. Service as of this date by the Clerk of Court.[547926] [CMP] [Entered: 09/07/2018 11:40 AM]
  09/07/2018          39           Filing fee paid in the United States District Court for the Southern District of New York on 09/06/2018.
                                   [547938] [CMP] [Entered: 09/07/2018 11:55 AM]
  09/07/2018          40           Amended Certified list from the United States District Court for the Southern District of New York (reflecting
                4 pg, 68.55 KB     fee payment). Service: 09/07/2018 by clerk. [547940] [CMP] [Entered: 09/07/2018 11:57 AM]
  09/19/2018          42           ORDER filed. The motion for oral argument [4] is deferred to the merits panel assigned to this case. The
                3 pg, 78.91 KB     motion for electronic service [22] is denied. The motion to withdraw the informal brief and replace it with a
                                   formal brief [28] is denied. A copy of this order shall be transmitted to the merits panel assigned to the
                                   case.; - FOR CALENDAR. (Per Curiam). Service: 09/19/2018 by clerk. [551065] [LMS] [Entered:
                                   09/19/2018 03:20 PM]
  09/19/2018          46           CLERK'S OFFICE QUALITY CONTROL MESSAGE: ERROR: NYS Office of Court Administration's brief
                                   [18] was not text-searchable. CORRECTION: Pursuant to FCR 25(c)(1)(K) and 25(d), documents must be
                                   entirely text-searchable. Please ensure future filings are text-searchable. THIS MESSAGE IS FOR
                                   INFORMATIONAL PURPOSES ONLY. [551163] [MJL] [Entered: 09/19/2018 05:59 PM]
  09/19/2018          47           NOTICE OF NON-COMPLIANCE: The submission of Appellee City of New York, Informal Brief [19], is not
                1 pg, 65.67 KB     in compliance with the rules of this court (see attached). Compliant brief due 09/26/2018. Service as of this
                                   date by the Clerk of Court. [551171] [MJL] [Entered: 09/19/2018 06:19 PM]
  09/19/2018          48           NOTICE OF NON-COMPLIANCE: The submission of Appellees Hinshaw & Culbertson, LLP, Hal
                2 pg, 68.9 KB      Lieberman and Richard Supple, Informal Brief [20], is not in compliance with the rules of this court (see
                                   attached). Compliant brief due 09/26/2018. Service as of this date by the Clerk of Court. [551177] [MJL]
                                   [Entered: 09/19/2018 06:29 PM]
  09/19/2018          49           NOTICE OF NON-COMPLIANCE: The submission of Appellees Acosta, Cohen, DoPico, Friedberg,
                2 pg, 68.83 KB     Goldstein, Gonzalez, Holmes, Lippman, Reyes, State of New York, Tom, and Vallejo, Informal Brief [21], is
                                   not in compliance with the rules of this court (see attached). Compliant brief due 09/26/2018. Service as of
                                   this date by the Clerk of Court. [551180] [MJL] [Entered: 09/19/2018 06:43 PM]
  09/21/2018          54           MOTION of Appellant Amy R. Weissbrod Gurvey to stay appeal, modify the official caption, enlarge the
                241 pg, 11.75 MB   reply appendix, and accept the informal reply brief as timely. Service: 09/20/2018 by US mail. [552616]
                                   [MJL] [Entered: 09/26/2018 10:09 AM]
  09/24/2018          55           TENDERED from Appellant Amy R. Weissbrod Gurvey. Title: CORRECTED REPLY BRIEF. [552619] [MJL]
                71 pg, 15.52 MB    [Entered: 09/26/2018 10:11 AM]
  09/25/2018          50           TENDERED from Appellees Rolando Acosta, Jonathan Lippman, Peter Tom, Luis Gonzalez, Jorge DoPico,
                21 pg, 314.75 KB   Sherry Cohen, Naomi Goldstein, Alan W. Friedberg, Raymond Vallejo, Orlando Reyes, Lauren Holmes and
                                   State of New York. Title: CORRECTED RESPONSE BRIEF. Service: 09/25/2018 by email, US mail.
                                   [552527] [18-2076] [David Lawrence] [Entered: 09/25/2018 04:29 PM]
  09/25/2018          51           TENDERED from Appellees Jonathan Lippman, Rolando Acosta, Peter Tom, Luis Gonzalez, Jorge DoPico,
                181 pg, 33.04 MB   Sherry Cohen, Naomi Goldstein, Alan W. Friedberg, Raymond Vallejo, Orlando Reyes, Lauren Holmes and
                                   State of New York. Title: CORRECTED JOINT APPENDIX. Service: 09/25/2018 by email, US mail.
                                   [552532] [18-2076] [David Lawrence] [Entered: 09/25/2018 04:35 PM]
  09/25/2018          52           CORRECTED certificate of service for Appellees Jonathan Lippman, Rolando Acosta, Sherry Cohen, Jorge
                1 pg, 59.45 KB     DoPico, Alan W. Friedberg, Naomi Goldstein, Luis Gonzalez, Lauren Holmes, State of New York, Peter
                                   Tom and Raymond Vallejo for Brief, Doc No. [51], Brief, Doc No. [50]. Service: 09/25/2018 by US mail,
                                   email. [552537] [18-2076] [David Lawrence] [Entered: 09/25/2018 04:38 PM]
  09/25/2018          60           CORRECTED INFORMAL BRIEF FILED for Appellees Rolando Acosta, Sherry Cohen, Jorge DoPico, Alan
                22 pg, 395.8 KB    W. Friedberg, Naomi Goldstein, Luis Gonzalez, Lauren Holmes, Jonathan Lippman, Orlando Reyes, State
                                   of New York, Peter Tom and Raymond Vallejo [50]. Number of Pages: 20. Service: 09/25/2018 by email,
                                   US mail. [553216] [MJL] [Entered: 09/28/2018 11:02 AM]
  09/25/2018          61           CORRECTED APPENDIX FILED (SUPPLEMENTAL) for Rolando Acosta, Sherry Cohen, Jorge DoPico,
                182 pg, 33.11 MB   Alan W. Friedberg, Naomi Goldstein, Luis Gonzalez, Lauren Holmes, Jonathan Lippman, Orlando Reyes,
                                   State of New York, Peter Tom and Raymond Vallejo [51]. Number of Pages: 182. Service: 09/25/2018 by
                                   US mail, email. [553220] [MJL] [Entered: 09/28/2018 11:04 AM]
  09/26/2018          53           3 paper copies of the Informal Opening Response Brief [45] received from Appellee NYS Office of Court
                                   Administration. [552593] [CJF] [Entered: 09/26/2018 09:02 AM]
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  09/26/2018
                                                                ID #:880
                                   TENDERED from Appellees Hal Lieberman, Hinshaw & Culbertson, LLP and Richard Supple. Title:
                      56
                26 pg, 13.89 MB    CORRECTED RESPONSE BRIEF. Service: 09/26/2018 by email, US mail. [552739] [18-2076]. This brief
                                   is non-compliant. See Doc. No. [62]. [Nicole Feder] [Entered: 09/26/2018 01:37 PM]
  09/26/2018          57           MOTION of Appellant Amy R. Weissbrod Gurvey to strike documents [11], [18], [21], [45], to reconsider
                95 pg, 21.17 MB    court order [42], and for various other reliefs. [Consent: not addressed]. Service: 09/27/2018 by clerk.
                                   [553029] [MJL] [Entered: 09/27/2018 02:33 PM]
  09/27/2018          58           6 paper copies of the Corrected Appendix [51] received from Appellees. [553213] [CJF] [Entered:
                                   09/28/2018 10:49 AM]
  09/27/2018          59           6 paper copies of the Corrected Informal Response Brief [50] received from Appellees Rolando Acosta,
                                   Sherry Cohen, Jorge DoPico, Alan W. Friedberg, Naomi Goldstein, Luis Gonzalez, Lauren Holmes,
                                   Jonathan Lippman, Orlando Reyes, State of New York, Peter Tom and Raymond Vallejo. [553214] [CJF]
                                   [Entered: 09/28/2018 10:53 AM]
  09/28/2018          62           NOTICE OF NON-COMPLIANCE: The submission of Appellees Hinshaw & Culbertson, LLP, Hal
                2 pg, 69.02 KB     Lieberman and Richard Supple, Informal Response Brief [56], is not in compliance with the rules of this
                                   court (see attached). Compliant brief due 10/05/2018. Service as of this date by the Clerk of Court.
                                   [553228]--[Edited 09/28/2018 by MJL to update attached notice]. [MJL] [Entered: 09/28/2018 11:12 AM]
  09/28/2018          63           TENDERED from Appellees Hinshaw & Culbertson, LLP, Hal Lieberman and Richard Supple. Title:
                28 pg, 14.48 MB    CORRECTED RESPONSE BRIEF. Service: 09/28/2018 by email, US mail. [553365] [18-2076] [Nicole
                                   Feder] [Entered: 09/28/2018 02:48 PM]
  09/28/2018          64           CORRECTED INFORMAL BRIEF FILED for Appellees Hinshaw & Culbertson, LLP, Hal Lieberman and
                28 pg, 14.48 MB    Richard Supple [63]. Number of Pages: 24. Service: 09/28/2018 by email, US mail. Three paper copies of
                                   the brief should be received by the court on or before 10/05/2018. [553421] [MJL] [Entered: 09/28/2018
                                   05:02 PM]
  10/01/2018                       TENDERED from Appellant Amy R. Weissbrod Gurvey. Title: REPLY BRIEF. [554996]. This brief is non-
                      70
                0 pg, 0 KB         compliant. See Doc. No. [73]. [MJL] [Entered: 10/04/2018 03:35 PM]

  10/03/2018          65           RESPONSE of Appellee NYS Office of Court Administrationfrom Hearing Panel IV to the motion [54] filed
                10 pg, 942.05 KB   by Appellant Amy R. Weissbrod Gurvey, motion [54] filed by Appellant Amy R. Weissbrod Gurvey, motion
                                   [54] filed by Appellant Amy R. Weissbrod Gurvey, motion [54] filed by Appellant Amy R. Weissbrod Gurvey,
                                   motion [54] filed by Appellant Amy R. Weissbrod Gurvey. Service: 10/03/2018 by email, US mail. [554409]
                                   [18-2076] [Shawn Kerby] [Entered: 10/03/2018 10:17 AM]
  10/03/2018          66           Certificate of Interest for the Not party Hearing Panel IV and Appellee NYS Office of Court Administration.
                2 pg, 122.87 KB    Service: 10/03/2018 by email, US mail. [554428] [18-2076] This document is non-compliant. See Doc No.
                                   [76] [Shawn Kerby] [Entered: 10/03/2018 10:34 AM]
  10/03/2018          67           3 paper copies of the Corrected Informal Opening Response Brief [64] received from Appellees Hinshaw &
                                   Culbertson, LLP, Hal Lieberman and Richard Supple. [554442] [CJF] [Entered: 10/03/2018 10:50 AM]
  10/03/2018          68           RESPONSE of Appellees Hinshaw & Culbertson, LLP, Hal Lieberman and Richard Supple to the motion to
                127 pg, 8.53 MB    stay appeal [54] filed by Appellant Amy R. Weissbrod Gurvey, motion to modify the official caption [54] filed
                                   by Appellant Amy R. Weissbrod Gurvey, motion to correct/supplement [54] filed by Appellant Amy R.
                                   Weissbrod Gurvey, motion to extend time to file brief [54] filed by Appellant Amy R. Weissbrod Gurvey,
                                   motion for other relief [54] filed by Appellant Amy R. Weissbrod Gurvey. Service: 10/03/2018 by email, US
                                   mail. [554533] [18-2076] [Nicole Feder] [Entered: 10/03/2018 01:06 PM]
  10/03/2018          69           RESPONSE of Appellees Rolando Acosta, Sherry Cohen, Jonathan Lippman, Orlando Reyes, Luis
                10 pg, 328 KB      Gonzalez, Jorge DoPico, Peter Tom, Raymond Vallejo, Naomi Goldstein, Alan W. Friedberg, Lauren
                                   Holmes and State of New York to the motion [54] filed by Appellant Amy R. Weissbrod Gurvey, motion [54]
                                   filed by Appellant Amy R. Weissbrod Gurvey, motion [54] filed by Appellant Amy R. Weissbrod Gurvey,
                                   motion [54] filed by Appellant Amy R. Weissbrod Gurvey, motion [54] filed by Appellant Amy R. Weissbrod
                                   Gurvey. Service: 10/03/2018 by email, US mail. [554673] [18-2076] [David Lawrence] [Entered: 10/03/2018
                                   04:59 PM]
  10/03/2018          71           Document construed as MOTION of Appellant Amy R. Weissbrod Gurvey to waive requirements and allow
                33 pg, 7.84 MB     for a second reply brief [Consent: not addressed]. Service: 09/29/2018 by US mail. [554998] [MJL]
                                   [Entered: 10/04/2018 03:38 PM]
  10/04/2018          72           MOTION of Appellee City of New York to extend the time to 10/04/2018 to file the September 26, 2018
                2 pg, 68.8 KB      corrected brief. [Consent: not addressed]. Service: 10/04/2018 by email. [555004] [18-2076] [Susan
                                   Paulson] [Entered: 10/04/2018 03:43 PM]
  10/04/2018          73           NOTICE OF NON-COMPLIANCE: The submission of Appellant Amy R. Weissbrod Gurvey, Reply Brief
                1 pg, 65.82 KB     [70], is not in compliance with the rules of this court (see attached). Compliant brief due 10/18/2018.
                                   Service as of this date by the Clerk of Court. [555007] [MJL] [Entered: 10/04/2018 03:44 PM]
  10/04/2018          74           TENDERED from Appellee City of New York. Title: CORRECTED RESPONSE BRIEF. Service: 10/04/2018
                12 pg, 389.77 KB   by email, US mail. [555011] [18-2076] [Susan Paulson] [Entered: 10/04/2018 03:45 PM]
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  10/05/2018
                                                               ID  #:881
                                   RESPONSE of Appellees Rolando Acosta, Jorge DoPico, Alan W. Friedberg, Naomi Goldstein, Luis
                      75
                9 pg, 313.8 KB     Gonzalez, Jonathan Lippman, Peter Tom, Sherry Cohen, Lauren Holmes, Raymond Vallejo and State of
                                   New York to the motion to strike document [57] filed by Appellant Amy R. Weissbrod Gurvey, motion to
                                   reconsider order [57] filed by Appellant Amy R. Weissbrod Gurvey, motion to terminate appeal [57] filed by
                                   Appellant Amy R. Weissbrod Gurvey. Service: 10/05/2018 by email, US mail. [555309] [18-2076] [David
                                   Lawrence] [Entered: 10/05/2018 02:47 PM]
  10/05/2018          76           NOTICE OF NON-COMPLIANCE: The submission of Appellee NYS Office of Court Administration and Not
                1 pg, 66.41 KB     party Hearing Panel IV, Certificate of Interest [66], is not in compliance with the rules of this court (see
                                   attached). Compliant document due on 10/15/2018. Service as of this date by the Clerk of Court.[555345]
                                   [CAB] [Entered: 10/05/2018 04:07 PM]
  10/05/2018          88           4 paper copies of the Corrected Informal Response Brief [74] received from Appellee City of New York.
                                   [556320] [CJF] [Entered: 10/11/2018 11:12 AM]
  10/09/2018          77           Entry of appearance for Shawn Kerby as principal counsel for Not party Hearing Panel IV. Service:
                1 pg, 64.38 KB     10/09/2018 by email, US mail. [555661] [18-2076] [Shawn Kerby] [Entered: 10/09/2018 02:55 PM]
  10/09/2018          78           Certificate of Interest for the Appellee NYS Office of Court Administration and Not party Hearing Panel IV.
                2 pg, 56.46 KB     Service: 10/09/2018 by email, US mail. [555663] [18-2076] [Shawn Kerby] [Entered: 10/09/2018 02:57 PM]
  10/09/2018          79           RESPONSE of Appellees Hinshaw & Culbertson, LLP, Hal Lieberman and Richard Supple to the motion
                10 pg, 425.47 KB   [57] filed by Appellant Amy R. Weissbrod Gurvey, motion [57] filed by Appellant Amy R. Weissbrod Gurvey,
                                   motion [57] filed by Appellant Amy R. Weissbrod Gurvey. Service: 10/09/2018 by email, US mail. [555711]
                                   [18-2076] [Nicole Feder] [Entered: 10/09/2018 04:04 PM]
  10/09/2018          83           REPLY of Appellant Amy R. Weissbrod Gurvey to responses [65], [68], and [69] filed by Appellees. Service:
                62 pg, 1.13 MB     10/09/2018 by US mail. [555937] [MJL] [Entered: 10/10/2018 10:43 AM]
  10/10/2018          80           ORDER filed. The motion [72] is granted. The City of New York's corrected response brief, ECF No. 74, is
                2 pg, 73.24 KB     accepted for filing. Service: 10/10/2018 by clerk. [555835] [LMS] [Entered: 10/10/2018 08:18 AM]
  10/10/2018          81           CORRECTED INFORMAL BRIEF FILED for Appellee City of New York [74]. Number of Pages: 8. Service:
                12 pg, 389.77 KB   10/04/2018 by US mail, email. Three paper copies of the brief should be received by the court on or before
                                   10/17/2018. [555841] [MJL] [Entered: 10/10/2018 08:35 AM]
  10/10/2018          82           RESPONSE of Appellee NYS Office of Court Administrationfrom Hearing Panel IV to the motion [57] filed
                7 pg, 359 KB       by Appellant Amy R. Weissbrod Gurvey, motion [57] filed by Appellant Amy R. Weissbrod Gurvey, motion
                                   [57] filed by Appellant Amy R. Weissbrod Gurvey. Service: 10/10/2018 by email, US mail. [555929] [18-
                                   2076] [Shawn Kerby] [Entered: 10/10/2018 10:26 AM]
  10/10/2018          84           CORRECTED certificate of service for Appellee NYS Office of Court Administration Hearing Panel IV for
                1 pg, 22.16 KB     attorney entry of appearance, Doc No. [77]. Service: 10/10/2018 by email, US mail. [555968] [18-2076]
                                   [Shawn Kerby] [Entered: 10/10/2018 11:29 AM]
  10/10/2018          85           CORRECTED certificate of service for Appellee NYS Office of Court Administration Hearing Panel IV for
                1 pg, 23.13 KB     response, Doc No. [65]. Service: 10/03/2018 by email, US mail. [555969] [18-2076] [Shawn Kerby]
                                   [Entered: 10/10/2018 11:31 AM]
  10/10/2018          86           CORRECTED certificate of service for Appellee NYS Office of Court Administration Hearing Panel IV for
                1 pg, 23.23 KB     response, Doc No. [82]. Service: 10/10/2018 by email, US mail. [555971] [18-2076] [Shawn Kerby]
                                   [Entered: 10/10/2018 11:33 AM]
  10/10/2018          87           Official caption revised to reflect Hearing Panel IV as an appellee and correct ordering of the parties. The
                                   official caption is reflected on the electronic docket under the listing of the parties and counsel. Service as
                                   of this date by the Clerk of Court. [556098] [MJL] [Entered: 10/10/2018 03:00 PM]
  10/16/2018          89           REPLY of Appellant Amy R. Weissbrod Gurvey to the response [79] filed by Appellees Hinshaw &
                260 pg, 9.49 MB    Culbertson, LLP, Hal Lieberman, and Richard Supple with incorporated MOTION for sanctions and
                                   damages [Consent: not addressed]. Service: 10/15/2018 by US mail. [559833] [MJL] [Entered: 10/24/2018
                                   08:32 AM]
  10/29/2018          90           RESPONSE of Appellees Rolando Acosta, Sherry Cohen, Jorge DoPico, Alan W. Friedberg, Naomi
                8 pg, 331.87 KB    Goldstein, Luis Gonzalez, Lauren Holmes, Jonathan Lippman, State of New York, Peter Tom, Raymond
                                   Vallejo and Orlando Reyes to the motion [89] filed by Appellant Amy R. Weissbrod Gurvey. Service:
                                   10/29/2018 by email, US mail. [560901] [18-2076] [David Lawrence] [Entered: 10/29/2018 11:43 AM]
  10/29/2018          91           RESPONSE of Appellees Hinshaw & Culbertson, LLP, Hal Lieberman and Richard Supple to the motion
                25 pg, 1.4 MB      [89] filed by Appellant Amy R. Weissbrod Gurvey. Service: 10/29/2018 by email, US mail. [560971] [18-
                                   2076] [Nicole Feder] [Entered: 10/29/2018 02:37 PM]
  11/16/2018          92           REPLY of Appellant Amy R. Weissbrod Gurvey to responses [90] and [91] filed by Appellees in 18-2076.
                24 pg, 110.05 KB   Service: 11/14/2018 by US mail. [566317]. This document is non-compliant. See Doc. No. [93]. [MJL]
                                   [Entered: 11/19/2018 01:53 PM]

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  11/19/2018
                                                           ID  #:882
                                   NOTICE OF NON-COMPLIANCE: The submission of Appellant Amy R. Weissbrod Gurvey, Reply [92], is
                      93
                1 pg, 65.77 KB     not in compliance with the rules of this court (see attached). Compliant document due 12/03/2018. Service
                                   as of this date by the Clerk of Court. [566319] [MJL] [Entered: 11/19/2018 01:56 PM]
  11/19/2018          94           ORDER filed. Ms. Weissbrod Gurvey's reply brief docketed at ECF No. 55 is accepted for filing. All other
                3 pg, 78.82 KB     motions [54] [57] [71] [89] and requests for relief in ECF Nos. 54, 57, 71, and 89 are denied. The matter is
                                   ready for assignment to a merits panel. Future filings will be transmitted to the merits panel assigned to this
                                   case. (Per Curiam). Service: 11/19/2018 by clerk. [566366] [LMS] [Entered: 11/19/2018 02:59 PM]
  11/19/2018          95           CORRECTED INFORMAL REPLY BRIEF FILED for Appellant Amy R. Weissbrod Gurvey [55]. Number of
                71 pg, 15.52 MB    Pages: 14. Service: 09/24/2018 by clerk. [566374] [MJL] [Entered: 11/19/2018 03:16 PM]
  11/26/2018          96           Document construed as MOTION of Appellant Amy R. Weissbrod Gurvey to consolidate appeals [Consent:
                76 pg, 1.86 MB     not addressed]. Service: 11/23/2018 by US mail. [568581] [MJL] [Entered: 11/29/2018 01:47 PM]
  11/30/2018          97           RESPONSE of Appellees Hearing Panel IV and NYS Office of Court Administration to the motion to
                5 pg, 379.87 KB    consolidate appeals [96] filed by Appellant Amy R. Weissbrod Gurvey. Service: 11/30/2018 by email, US
                                   mail. [568980] [18-2076] This document is non-compliant. See Doc No.[99] [Shawn Kerby] [Entered:
                                   11/30/2018 02:35 PM]
  12/06/2018          98           RESPONSE of Appellees Hinshaw & Culbertson, LLP, Hal Lieberman and Richard Supple to the motion
                12 pg, 531.71 KB   [96] filed by Appellant Amy R. Weissbrod Gurvey. Service: 12/06/2018 by email, US mail. [569826] [18-
                                   2076] This document is non-compliant. See Doc No.[101] [Nicole Feder] [Entered: 12/06/2018 10:53 AM]
  12/07/2018          99           NOTICE OF NON-COMPLIANCE: The submission of Appellees Hearing Panel IV and NYS Office of Court
                2 pg, 66.57 KB     Administration, Response to the motion to consolidate appeals [97], is not in compliance with the rules of
                                   this court (see attached). Service as of this date by the Clerk of Court.[570098] Compliant document due
                                   on 12/14/2018. [JAL] [Entered: 12/07/2018 09:08 AM]
  12/07/2018          100          RESPONSE of Appellees Hearing Panel IV and NYS Office of Court Administration to the motion [96] filed
                7 pg, 165.85 KB    by Appellant Amy R. Weissbrod Gurvey. Service: 12/07/2018 by email, US mail. [570263] [18-2076]
                                   [Shawn Kerby] [Entered: 12/07/2018 02:48 PM]
  12/11/2018          101          NOTICE OF NON-COMPLIANCE: The submission of Appellees Hinshaw & Culbertson, LLP, Hal
                2 pg, 67.96 KB     Lieberman, and Richard Supple, Response to motion to consolidate appeals [98], is not in compliance with
                                   the rules of this court (see attached). Compliant document due on 12/18/2018. Service as of this date by
                                   the Clerk of Court.[570865] [JAL] [Entered: 12/11/2018 12:53 PM]
  12/12/2018          102          MOTION of Appellant Amy R. Weissbrod Gurvey to terminate appeal through remand [Consent: not
                4 pg, 104.84 KB    addressed]. Service: 12/11/2018 by US mail. [571130] [MJL] [Entered: 12/12/2018 09:55 AM]
  12/14/2018          103          MOTION of Appellant Amy R. Weissbrod Gurvey to supplement the motion to consolidate appeals [96] filed
                21 pg, 434.46 KB   in 18-2076 [Consent: not addressed]. Service: 12/17/2018 by clerk. [572041] [MJL] [Entered: 12/17/2018
                                   08:22 AM]
  12/17/2018          104          RESPONSE of Appellees Hinshaw & Culbertson, LLP, Hal Lieberman and Richard Supple to the motion to
                14 pg, 565.93 KB   consolidate appeals [96] filed by Appellant Amy R. Weissbrod Gurvey. Service: 12/17/2018 by email, US
                                   mail. [572189] [18-2076] [Nicole Feder] [Entered: 12/17/2018 12:34 PM]
  12/17/2018          105          NOTICE OF SUBMISSION WITHOUT ARGUMENT. Panel: 1902O. Case scheduled Feb 08, 2019.
                2 pg, 76.21 KB     Argument is not required and this case will be submitted to the panel on the date indicated. [572339] [JAB]
                                   [Entered: 12/17/2018 04:12 PM]
  12/17/2018          106          Copy of motion [102] received via mail for Appellant Amy R. Weissbrod Gurvey. Service: 12/11/2018 by US
                5 pg, 1.34 MB      mail. [572540] [MJL] [Entered: 12/18/2018 09:50 AM]
  12/19/2018          107          RESPONSE of Appellees Hearing Panel IV and NYS Office of Court Administration to the motion to
                7 pg, 278.98 KB    terminate appeal [102] filed by Appellant Amy R. Weissbrod Gurvey. Service: 12/19/2018 by email, US
                                   mail. [572989] [18-2076] [Shawn Kerby] [Entered: 12/19/2018 11:43 AM]
  12/20/2018          108          RESPONSE of Appellees Hearing Panel IV and NYS Office of Court Administration to the motion [103] filed
                13 pg, 682.91 KB   by Appellant Amy R. Weissbrod Gurvey. Service: 12/20/2018 by email, US mail. [573412] [18-2076]
                                   [Shawn Kerby] [Entered: 12/20/2018 10:19 AM]
  12/20/2018          109          ORDER filed denying [4] motion to allow argument filed by Amy R. Weissbrod Gurvey. By: Merits Panel
                2 pg, 75.46 KB     (Per Curiam). Service as of this date by the Clerk of Court. [573615] [JAB] [Entered: 12/20/2018 03:09 PM]
  12/21/2018          110          RESPONSE of Appellees Rolando Acosta, Jorge DoPico, Alan W. Friedberg, Naomi Goldstein, Luis
                10 pg, 291.11 KB   Gonzalez, Jonathan Lippman, NYS Office of Court Administration, Orlando Reyes, State of New York,
                                   Peter Tom and Raymond Vallejo to the motion [102] filed by Appellant Amy R. Weissbrod Gurvey. Service:
                                   12/21/2018 by email, US mail. [574106] [18-2076] [David Lawrence] [Entered: 12/21/2018 01:47 PM]
  12/21/2018          111          RESPONSE of Appellees Hinshaw & Culbertson, LLP, Hal Lieberman and Richard Supple to the motion
                15 pg, 615.49 KB   [103] filed by Appellant Amy R. Weissbrod Gurvey, motion [102] filed by Appellant Amy R. Weissbrod
                                   Gurvey. Service: 12/21/2018 by email, US mail. [574145] [18-2076] [Nicole Feder] [Entered: 12/21/2018
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                                   MOTION of Appellant Amy R. Weissbrod Gurvey to stay appeal [Consent: not addressed]. Service:
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                132 pg, 3.73 MB    01/07/2019 by US mail. [576868] [JAB] [Entered: 01/09/2019 11:03 AM]
  01/07/2019          113          Duplicate copy of [112] motion to stay appeal for Appellant Amy R. Weissbrod Gurvey. Service: 01/09/2019
                131 pg, 3.78 MB    by clerk. [576873] [JAB] [Entered: 01/09/2019 11:07 AM]
  01/07/2019          114          Duplicate copy of [112] motion to stay appeal for Appellant Amy R. Weissbrod Gurvey. Service: 01/09/2019
                99 pg, 3.15 MB     by clerk. [576875] [JAB] [Entered: 01/09/2019 11:09 AM]
  01/14/2019          115          RESPONSE of Appellees Hearing Panel IV and NYS Office of Court Administration to the motion to stay
                8 pg, 195.96 KB    appeal [112] filed by Appellant Amy R. Weissbrod Gurvey. Service: 01/14/2019 by email, US mail. [577932]
                                   [18-2076] [Shawn Kerby] [Entered: 01/14/2019 03:09 PM]
  01/15/2019          116          RESPONSE of Appellees Hal Lieberman, Hinshaw & Culbertson, LLP and Richard Supple to the motion
                22 pg, 1.43 MB     [112] filed by Appellant Amy R. Weissbrod Gurvey. Service: 01/15/2019 by email, US mail. [578188] [18-
                                   2076] [Nicole Feder] [Entered: 01/15/2019 03:48 PM]
  01/16/2019          117          Letter from Appellant Amy R. Weissbrod Gurvey in support of remand. Service: 01/16/2019 by US mail.
                3 pg, 76.79 KB     [578817] [JAB] [Entered: 01/17/2019 09:09 AM]
  01/28/2019          118          REPLY of Appellant Amy R. Weissbrod Gurvey to response filed by Appellees in 18-2076, Doc. No [115],
                11 pg, 470.64 KB   response filed by Appellees in 18-2076, Doc. No [116]. Service: 01/26/2019 by US mail. [581278] [JAB]
                                   [Entered: 01/28/2019 09:44 AM]
  01/28/2019          119          Letter from Appellees Richard Supple, Hal Lieberman and Hinshaw & Culbertson, LLP Further response to
                2 pg, 107.78 KB    Gurvey's motion to stay.. Service: 01/21/2019 by email. [581344] [18-2076] [Nicole Feder] [Entered:
                                   01/28/2019 11:13 AM]
  02/07/2019          120          Miscellaneous documents (service copy of United States Court of Appeals for the Second Circuit filing) for
                9 pg, 1.93 MB      Appellant Amy R. Weissbrod Gurvey. Service: 02/08/2019 by clerk. [584309] [JAB] [Entered: 02/08/2019
                                   07:34 AM]
  02/08/2019          121          Submitted ON THE BRIEFS. Panel: Judge: Dyk, Judge: Wallach , Judge: Chen [JAB] [Entered: 02/08/2019
                                   12:45 PM]
  02/11/2019          122          ORDER filed denying [96] motion to consolidate appeals filed by Amy R. Weissbrod Gurvey; denying [102]
                2 pg, 72.24 KB     motion to terminate appeal filed by Amy R. Weissbrod Gurvey; denying as moot motion to
                                   correct/supplement [103] filed by Appellant Amy R. Weissbrod Gurvey; denying as moot motion to stay
                                   appeal [112] filed by Appellant Amy R. Weissbrod Gurvey. By: Merits Panel (Per Curiam). Service as of this
                                   date by the Clerk of Court. [584669] [JAB] [Entered: 02/11/2019 09:47 AM]
  02/11/2019          123          OPINION filed for the court by Dyk, Circuit Judge; Wallach, Circuit Judge and Chen, Circuit Judge.
                5 pg, 95.78 KB     Nonprecedential Per Curiam Opinion. [584686] [PBC] [Entered: 02/11/2019 10:04 AM]
  02/11/2019          124          JUDGMENT filed. DISMISSED. Terminated on the merits after submission on the briefs. COSTS: Costs
                2 pg, 90.08 KB     taxed against Appellant(s). Mandate to issue in due course. For information regarding costs, petitions for
                                   rehearing, and petitions for writs of certiorari click here. [584687] [PBC] [Entered: 02/11/2019 10:05 AM]
  03/20/2019          125          Mandate issued to the United States District Court for the Southern District of New York. Service as of this
                2 pg, 89.91 KB     date by the Clerk of Court. [594100] [PBC] [Entered: 03/20/2019 09:51 AM]
  05/13/2019          126          Miscellaneous document (motion for reconsideration and to vacate judgment pursuant to FRCP Rules 59,
                12 pg, 157.55 KB   60(b)) for Appellant Amy R. Weissbrod Gurvey. Service: 05/10/2019 by US mail. [606927] [JAB] [Entered:
                                   05/13/2019 02:47 PM]
  05/13/2019          127          Miscellaneous document (service copy of petition for writ of certiorari) for Appellant Amy R. Weissbrod
                284 pg, 8.88 MB    Gurvey. Service: 05/13/2019 by clerk. [606929] [JAB] [Entered: 05/13/2019 02:50 PM]
  05/13/2019          128          Clerk's Letter to Appellant Amy R. Weissbrod Gurvey regarding submission received May 13, 2019. See
                1 pg, 63.3 KB      related entry: [126]. Service as of this date by the Clerk of Court. [606936] [JAB] [Entered: 05/13/2019
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